 Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 1 of 69




         EXHIBIT 1

DOCUMENT FILED UNDER SEAL
  Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 2 of 69




          EXHIBIT 2

DOCUMENT FILED UNDER SEAL
  Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 3 of 69




        EXHIBIT 3

DOCUMENT FILED UNDER SEAL
Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 4 of 69




       EXHIBIT 4
Case 24-50013-BLS      Doc 5-1   Filed 02/02/24    Page 5 of 69




           CAMSHAFT CAPITAL ADVISORS, LLC
            18555 COLLINS AVE SUITE #5405
             SUNNY ISLES BEACH, FL 33160
              TELEPHONE: 305-619-1383


               WWW.CAMSHAFTCAPITAL.COM

                          April 2023

              This brochure provides information about the
qualifications and business practices of Camshaft Capital
Advisors. LLC (“Camshaft” or the “Firm”). If you have any
questions about the contents of this brochure, please contact us
at (305) 619-1383 and/or email: william@camshaftcapital.com
The information in this brochure has not been approved or
verified by the United States Securities and Exchange
Commission (“SEC”) or by any state securities authority.

Additional information about Camshaft also is available on the
SEC’s website at www.adviserinfo.sec.gov.
                    Case 24-50013-BLS        Doc 5-1    Filed 02/02/24    Page 6 of 69




                      Camshaft is registered as an investment adviser with the SEC.
                      Registration with the SEC does not imply a certain level of skill
                      or training.




                                                  2
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             Case 24-50013-BLS         Doc 5-1    Filed 02/02/24     Page 7 of 69




Item 2. Material Changes

       This is the initial Brochure filing for Camshaft Capital Advisors, LLC. Going forward this
Item will be updated with each annual amendment.

        The information set forth in this Brochure is qualified in its entirety by reference to a
Client’s Governing Documents (as defined herein) and/or offering documents. In the event of a
conflict between the information set forth in this Brochure and the information set forth in a
Client’s Governing Documents and/or offering documents, the Client’s Governing Documents
and/or offering documents shall take precedence.




                                            2
                    Case 24-50013-BLS                   Doc 5-1          Filed 02/02/24             Page 8 of 69




Item 3. Table of Contents

Topic:                                                                                                                              Page

Item 2. Material Changes ............................................................................................................. 2

Item 3. Table of Contents ............................................................................................................. 3

Item 4. Advisory Business ............................................................................................................ 4

Item 5. Fees and Compensation ................................................................................................... 4

Item 6. Performance-Based Fees and Side-By-Side Management ........................................... 6

Item 7. Types of Clients ................................................................................................................ 7

Item 8. Methods of Analysis, Investment Strategies and Risk of Loss..................................... 8

Item 9. Disciplinary Information ............................................................................................... 38

Item 10. Other Financial Industry Activities and Affiliations ................................................ 38

Item 11. Code of Ethics, Participation or Interest in Client Transactions
          and Personal Trading ............................................................................................... 39

Item 12. Brokerage Practices ..................................................................................................... 40

Item 13. Review of Accounts ...................................................................................................... 42

Item 14. Client Referrals and Other Compensation ................................................................ 42

Item 15. Custody ......................................................................................................................... 42

Item 16. Investment Discretion .................................................................................................. 43

Item 17. Voting Client Securities ............................................................................................... 43

Item 18. Financial Information .................................................................................................. 44




                                                                3
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 9 of 69




Item 4. Advisory Business

       For the purposes of this Brochure, the “Adviser”, “Camshaft: or the “Investment
Manager” means Camshaft Capital Advisors, LLC. The Investment Manager, owned by William
Morton, is a limited liability company organized under the laws of the State of Florida and has
been providing investment advisory services since 2020. Camshaft Capital Management, LLC is
the General Partner of Camshaft Capital Fund LP. Mr. Morton acts as the managing member of
Camshaft Capital Management, LLC.

       Currently, Camshaft manages and provides discretionary investment advisory services to
the Camshaft Capital Fund, LP (as defined below in this Item 4 under “Funds”). In addition,
Camshaft may serve as a discretionary investment adviser to invest the assets of a privately offered
pooled investment vehicle managed by an unaffiliated third-party pursuant to a trading advisory
agreement (the “Third-Party Fund” and, together with the Camshaft Funds, the “Funds”).
Camshaft may also provide investment advisory services to entities or pooled investment vehicles
on a managed account basis (each such arrangement, a “Managed Account,” and the entity(ies)
funding a Managed Account, a “Managed Account Client”). For the purposes of this brochure, a
“Client” refers to a Fund (but not the investors in a Fund) and/or a Managed Account Client, as
the context requires.

      As of December 31, 2022, Camshaft had $595,845,395 in regulatory assets under
management. Camshaft does not currently manage any Client assets on a non-discretionary basis.
Camshaft does not participate in any wrap fee programs.

       Managed Account Arrangements

        As of the date of this brochure, Camshaft has no Managed Account arrangements.
However, in the event that Camshaft were to enter into a Managed Account arrangement in the
future, then Camshaft would develop investment guidelines based upon the Managed Account
Client’s specific investment objectives. Managed Account advisory services would be governed
by a written agreement (“Managed Account Agreement”) between Camshaft and the Managed
Account Client. Camshaft would manage any such Managed Accounts under a broad range of
potential mandates. Managed Account Clients would be permitted to amend their investment
guidelines as their needs change or impose restrictions or limitations on investing in certain
securities or types of securities.

Item 5. Fees and Compensation
        A management fee is paid monthly in advance to the General Partner. The management fee
is equal to three percent (3%) per annum of the beginning capital account balance of each Limited
Partner for such month. The General Partner may, in its sole discretion, enter into arrangements
with Limited Partners under which the management fee is reduced, waived or calculated
differently with respect to such Limited Partners, including, without limitation, Limited Partners
that are members, affiliates or employees of the General Partner, members of the immediate
families of such persons and trusts or other entities for their benefit, or Limited Partners that make
substantial investment or otherwise are determined by the General Partner in its sole discretion to
represent a strategic relationship.

                                              4
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 10 of 69




         To the extent that there is a shared expense among any of the Camshaft Funds, on the one
hand, and Camshaft, on the other hand, Camshaft will allocate the expense among such Camshaft
Fund(s) and itself in a manner that it determines is fair and equitable under the circumstances to
all parties.

       See Item 6 below for more information concerning performance-based fees.

       Managed Accounts
        Camshaft presently does not have, and thus receives no fees from, any Managed Account
Clients. In the event that Camshaft were to advise a Managed Account in the future, it may be paid
a management fee and/or a performance fee by such Managed Account in accordance with the
terms of the applicable Managed Account Agreement.

       Additional Expenses
        In addition to the management fees and the performance-based fees described above, the
Camshaft Funds (and, indirectly, the investors therein) will pay such additional expenses as are
disclosed in the Camshaft Funds’ applicable offering documents. The expenses to be paid by each
Camshaft Fund vary and may include, among others, the following: transaction costs and
investment-related expenses incurred in connection with the Funds’ trading activities, including
securities and futures brokerage, clearing, margin interest (if any), custodial expenses, and any
non-U.S. mutual fund expenses; all U.S. and non-U.S. legal, regulatory and compliance fees and
expenses (including, but not limited to, blue sky compliance, compliance with the Alternative
Investment Fund Managers Directive, MIFID, the EEA and FATCA), accounting, auditing, tax
preparation, expenses relating to the offering and sale of the Shares, and registration fees and
expenses as well as related fees and expenses (including, but not limited to, legal fees or other fees
and expenses related to: the preparation and filing of Form PF, CFTC and NFA Form CPO-PQR,
NFA Form CTA-PR and NFA Form PR, the applicable portion of Camshaft’s fees and expenses
incurred in connection with preparing and filing Form ADV that are allocable to a Camshaft Fund,
and any other SEC, CFTC and/or NFA filings and registrations or other filings that are made with
respect to the Funds or assets of the Funds; related requirements under the Dodd-Frank Act, and
U.S. Department of the Treasury and U.S. Department of Commerce regulations; and registrations
and related requirements of foreign regulators); expenses associated with the continued offering
of shares, which include, but are not limited to, marketing, travel and other solicitation expenses;
operational expenses such as the administrator’s charges, fees and expenses, trade support systems,
the directors’ charges and expenses, photocopying, facsimile, postage, and telephone expenses;
research and research-related costs, consulting fees, fees and charges (such as data feeds, news,
Fund reports, brokerage reports, software licenses, ongoing development, implementation,
updating and support of software licenses, bank service fees, third-party trading and/or portfolio-
related services and support, including software costs such as order management, risk management
and similar systems, software costs relating to order management, and Bloomberg terminals and
services); legal fees and due diligence expenses, related to the analysis purchase or sale of
investments, whether or not the investment is consummated; Camshaft Fund related insurance
costs (including a portion of D&O and E&O insurance for Camshaft, if applicable), extraordinary
expenses (such as, litigation costs and indemnification obligations), if any; the Performance Fee
and the Management Fee (defined below) paid to Camshaft; Cayman Islands government fees and
director registration fees and other equivalent expenses; and interest in connection with
                                              5
             Case 24-50013-BLS         Doc 5-1     Filed 02/02/24     Page 11 of 69




investment-related borrowings. In addition, each Fund will bear its pro rata share of all expenses
related to any pooled investment vehicle(s) (including, but not limited to, the Master Fund) in
which such Fund invests; such charges may include management fees, performance fees, ordinary
operating expenses (such as administration, legal, accounting and other operational costs) and
extraordinary expenses (such as litigation costs and indemnification obligations), provided that
such Fund will not bear a double-layering of asset-based fees or performance-based compensation
in connection with its investment in another Camshaft Fund. Therefore, it is possible that a Fund
may bear a portion of any such expense even though it may not directly benefit therefrom. Funds
also pay the fees and expenses of their prime brokers, futures commission merchants and
administrators.

       As described further in the respective offering documents for the Camshaft Funds,
generally, Camshaft will bear certain overhead expenses of operating the Camshaft Funds which
otherwise would be allocable to the Camshaft Funds.

       Although Camshaft presently does not have any Managed Account Clients, any future
Managed Account Clients of Camshaft may be expected to pay additional expenses similar to those
described above, to the extent applicable, subject to the specific terms of the applicable Managed
Account Agreement.

       Please see Item 12 below for a discussion of Camshaft’s brokerage practices.

       Additional Information About Fees and Expenses

        The specific manner in which Camshaft charges management fees, performance-based
fees, and expenses is established in each Client’s written agreement with Camshaft. Camshaft
investors may consult the applicable Fund’s offering memorandum and governing documents for
a description of these charges. Generally, pursuant to the applicable governing documents for each
Fund, management fees and performance-based fees are deducted directly from each investor’s
account with the relevant Fund. Management fees, if any, are generally paid monthly in arrears.
Performance fees, if any, are paid at the end of the fiscal year to which the fee pertains or upon a
redemption from a Fund or a termination of a Managed Account.

       The foregoing fees and expenses may be negotiable, reduced, rebated or waived in certain
circumstances, including with respect to Clients or Fund investors that are employees of Camshaft
and other persons that are affiliated with Camshaft or its affiliates.

Item 6. Performance-Based Fees and Side-By-Side Management

       Currently, Camshaft’s Clients are generally charged both a management fee and a
performance fee. The performance fees are structured to comply with Section 205 of the
Investment Advisers Act of 1940, as amended (the “Advisers Act”).

        Performance-based compensation arrangements may create an incentive for Camshaft to
make investments that are riskier or more speculative than would be the case in the absence of a
financial incentive based on the performance of a Client’s account. Performance-based
compensation arrangements may also create an incentive for Camshaft to favor higher fee paying
accounts over other accounts in the allocation of investment opportunities. When Camshaft
                                            6
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 12 of 69




transacts securities for more than one Client account, the investment opportunities and trades must
be allocated in a manner consistent with Camshaft’s fiduciary duties. Camshaft will not necessarily
purchase or sell the same securities at the same time or in the same proportionate amounts for all
eligible portfolios, particularly if different portfolios have materially different amounts of capital
under management by Camshaft or different amounts of investable cash available or different
investment guidelines, financing arrangements and/or dealer relationships. As a result, although
Camshaft manages portfolios with similar or identical investment objectives, or may manage
accounts with different objectives that trade in the same securities, the portfolio decisions relating
to these accounts, and the performance resulting from such decisions, may differ from portfolio to
portfolio.

        Camshaft presently does not have, and thus receives no fees from, any Managed Account
Clients. If in the future Camshaft were to advise a Managed Account alongside the Camshaft
Funds, it is possible that Camshaft may take different positions in the same or related securities
for such Clients, such as selling certain securities short for a Camshaft Fund while a Managed
Account simultaneously holds the same or related securities long. In such case, Camshaft will
adopt and execute side-by-side management procedures in an effort to mitigate these potential
conflicts.

Item 7. Types of Clients

      Camshaft currently provides investment advice only to the Camshaft Funds. However,
Camshaft may advise additional or different types of entities in the future.

        Each Camshaft Fund is not registered under the Investment Company Act of 1940, as
amended (the “1940 Act”), in reliance on the exemption provided by Section 3(c)(7) of the 1940
Act. In addition, each Camshaft Fund’s interests or shares (as applicable) are not registered under
the Securities Act of 1933, as amended (the “Securities Act”), or any state “blue-sky” laws; rather,
they are privately offered only to qualified purchasers and accredited investors pursuant to an
exemption from registration under Regulation D under the Securities Act. Each investor in the
Fund must be (1) an “accredited investor” as defined in Regulation D under the Securities Act, (2)
a “qualified purchaser” as defined in the 1940 Act and the regulations under the 1940 Act, and (3)
a “United States person” as defined under the Internal Revenue Code of 1986, as amended (the
“Code”). Each investor in the Fund that is a “United States person” (as defined in the Code) must
be (1) an “accredited investor,” as defined in Regulation D under the Securities Act, (2) a “qualified
purchaser” or “knowledgeable employee” as defined in the 1940 Act and the rules under the 1940
Act (and thus a “qualified client” within the meaning of the Advisers Act), and (3) exempt from
U.S. federal income tax under Section 501 of the Code or otherwise. Each other investor in the
Fund must not be a “U.S. person,” as defined in Regulation S under the Securities Act, or a “United
States person” as defined in the Code, and must be a “Non-United States person” as defined in
Regulation 4.7 under the U.S. Commodity Exchange Act, as amended. The minimum investment
in each Fund, subject to waiver, is $2,500,000.

        If a Client or potential Client would like to open a Managed Account, the conditions for
starting and maintaining a Managed Account will vary with the circumstances of each Managed
Account and be negotiated and set forth on an individual basis in the relevant Managed Account
Agreement.

                                              7
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 13 of 69




Item 8. Methods of Analysis, Investment Strategies and Risk of Loss

        The methods of analysis and investment strategies used by Camshaft in managing
Camshaft Fund assets are summarized below. The methods of analysis and investment strategies
that Camshaft would use to manage assets of any Managed Account Clients would vary depending
on the needs of each Managed Account Client, but are expected to be comparable to those
summarized below for the Camshaft Funds. In addition, the material risks involved with each
significant investment strategy and method of analysis is explained below.

       Methods of Analysis and Investment Strategies

        The methods of analysis and investment strategies used by Camshaft in managing assets
are summarized below. Investors and prospective investors in a Camshaft Fund should review the
offering memorandum Fund in which they are invested (or are seeking to invest) for additional
information about the strategies and risks associated with an investment in such Fund. For
information concerning the sub-strategies identified below, please refer to the confidential offering
memorandum of the applicable Camshaft Fund.

         • Leverage and Short Selling. The Fund may from time to time engage in short selling.
Selling securities short runs the risk of losing an amount greater than the amount invested. Short
selling is subject to theoretically unlimited risk of loss because there is no limit on how much the
price of the stock may appreciate before the short position is closed out. A short sale may result in
a sudden and substantial loss if, for example, an acquisition proposal is made for the subject
company at a substantial premium over market price. Furthermore, the Fund at times will trade
securities on a leveraged basis, i.e., where the security can be purchased by putting up only a
portion of the instrument’s face value and borrowing the remainder (margin). As a result, a
relatively small price movement in a security may result in immediate and substantial losses to the
Fund. In addition, trading on margin will result in interest charges to the Fund which may be
substantial. Leveraged investments, including any purchase or sale of securities on margin, may
result in losses in excess of the amount invested.

        • Trading in Distressed Securities and Highly Leveraged Companies. The strategies of
the General Partner and the Investment Advisers may entail investments in distressed securities
and highly leveraged companies. An investment in these types of securities and companies, by the
nature of their leveraged capital structure, will involve a high degree of financial risk. Such risks
include, but are not limited to, the following: (a) difficulty in identifying attractive investment
opportunities; (b) subordination to substantial amounts of senior indebtedness, all or a signification
portion of which may be secured; (c) the possibility of substantial changes in rights and covenants
which could result in less protection for the Fund with respect to securities purchased in
proceedings under Chapter 11 of the US Bankruptcy Code; and (d) the lack of regulation of the
OTC Market (in which distressed securities often are traded) by any exchange, and the lack of any
established market-making, margin or other requirements that would help to insure a viable trading
market exists for a particular security.

        • Illiquidity of Markets. At various times, the markets for securities interests purchased
or sold by the Fund may be “thing” or illiquid, making purchase or sale of securities at desired
prices or in desired quantities difficult or impossible. For example, securities exchanges and the
                                              8
             Case 24-50013-BLS         Doc 5-1     Filed 02/02/24     Page 14 of 69




SEC have authority to suspend trading in a particular security without notice. In addition, the Fund
may invest in private placements of securities that are not registered under the Act and may have
little to no trading market.

        • Investing in Illiquid Securities. The Fund may from time to time invest in unregistered
securities of public companies and at times in the securities of private companies, including
without limitation, limited partnerships, the securities of which may be, and often are, illiquid.
While no more that 10% of the Fund’s portfolio may be invested in illiquid securities, the Fund
may be forced to hold a larger cash reserve than normal as a precaution in the event of a large
number of withdrawal requests by Limited Partners within a short period of time.

       • Other Investment Strategies. Camshaft may also pursue other investment strategies as
it deems appropriate, including, but not limited to: long/short equity investing, investing and
trading in futures, foreign currency instruments, options, total-return swaps, stock indices and
exchange-traded funds or other derivative financial instruments.

       Material Risks

        An investment in the Camshaft Funds involves substantial risks, including, but not
limited to, those described below. The following information is not intended to be an exhaustive
listing of all potential risks associated with an investment in the Camshaft Funds. There can be
no assurance that the Camshaft Funds will realize their investment objective or return any
capital. Shares/interests are a potentially suitable investment only for sophisticated investors for
whom an investment in the Camshaft Funds does not represent a complete investment program
and who, in consultation with their own investment and tax advisors, fully understand and are
capable of assuming the risks of an investment in the shares/interests.

        Note that, while this section may refer to risks of trading by the Camshaft Funds, all of
the Camshaft Funds’ trading activities occur at the level of the Master Fund. In addition,
references in this section to possible actions undertaken by the Camshaft Funds and the risks
related to the operation of the Camshaft Funds should be read to include references to possible
actions undertaken by the Master Fund and the risks related to the operation of the Master
Fund.

       Prospective investors should give careful consideration to the following factors in
evaluating the merits and suitability of an investment in the Camshaft Funds:

Risks Relating to the Camshaft Funds and the Offering of Shares/Interests

        Limitations on Past Performance. Camshaft Funds’ past performance is by no means
necessarily representative of how the Camshaft Funds will perform. While certain individuals of
the Firm have substantial experience investing in certain types of opportunities that the Camshaft
Funds pursues, there can be no assurance that the Camshaft Funds or the Master Fund will generate
performance results equivalent to the past results generated by the Firm or that the Camshaft Funds
will avoid losses. Market conditions and trading approaches are continually changing, and the fact
that certain individuals of the Firm may have achieved certain positive performance in the past
may be largely irrelevant to the Camshaft Funds’ prospects for profitability. The Camshaft Funds’

                                             9
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 15 of 69




past performance has been, and is expected to continue to be, highly volatile. PAST
PERFORMANCE IS NOT NECESSARILY INDICATIVE OF FUTURE RESULTS. NO
ASSURANCE CAN BE MADE THAT PROFITS WILL BE ACHIEVED OR THAT
SUBSTANTIAL LOSSES WILL NOT BE INCURRED.

         Potential Loss of Investment. An investment in the Camshaft Funds involves a high degree
of risk. There can be no assurance that the Camshaft Funds’ investment objective will be achieved.
There is a risk that an investment in the Camshaft Funds will be lost entirely or in part. The
Camshaft Funds is not a complete investment program and should represent only a portion of an
investor’s portfolio. Investors must be prepared to lose their entire investment in the Camshaft
Funds.

        No Market for Shares/Interests. Although amounts may be redeemed/withdrawn from the
Camshaft Funds on a periodic basis according to the terms set forth in the applicable agreement,
shares/interests may not be assigned, pledged or otherwise transferred without the prior written
consent of the Firm. There is no market for the shares/interests, and none is expected to develop.
Shares/interests will not be registered under the securities laws of any jurisdiction and will be
subject to strict restrictions on resale and transferability. Therefore, investors must be prepared to
bear the risk of their investment in the Camshaft Funds for a substantial period of time.

        Reliance on Key Person. The Camshaft Funds is substantially dependent on the services
of Camshaft. In the event of the death, disability, departure or insolvency of Mr. Morton, the
business of the Camshaft Funds may be adversely affected. Mr. Morton will devote such time and
effort as he deems necessary for the management and administration of the Camshaft Funds’
business. However, Mr. Morton may engage in various other business activities in addition to
managing the Camshaft Funds, and consequently Mr. Morton may not devote his complete time
to the business of the Camshaft Funds.

         Effect of Substantial Redemptions/Withdrawals. A number of events could result in
substantial redemptions/withdrawals from the Camshaft Funds. Actions taken to meet such
redemptions/withdrawals requests could result in a decrease in the prices of equities (listed and
unlisted, private and public, common and preferred), fixed income securities, sovereign debt,
futures (including commodity futures), over-the-counter physical commodities, foreign exchange
forward and spot contracts, digital assets and digital asset derivatives, American Depositary
Receipts (“ADRs”), foreign exchange currencies, and other derivative contracts and transactions
such as swaps (including interest rate swaps, credit default swaps, index credit default swaps,
equity total return swaps, volatility or variance swaps, correlation swaps and commodity swaps),
options, warrants, convertible securities, and cash or cash equivalents (such as treasury notes and
bills, certificates of deposit, commercial paper, broker balances, bankers acceptances or repurchase
agreements) (collectively, “Financial Instruments”) held by the Camshaft Funds and an increase
in expenses (e.g., transaction costs and the costs of terminating agreements). The overall value of
the Camshaft Funds may also decrease because the liquidation value of certain assets may be
materially less than their mark-to-market value. The Camshaft Funds may be forced to sell its more
liquid positions, may need to maintain greater amounts of cash and cash-equivalent investments
than it would otherwise maintain and may also be restricted in its ability to obtain financing or
derivatives counterparty relationships needed for certain investment and trading strategies, any of
which could affect the Camshaft Funds adversely.
                                             10
             Case 24-50013-BLS         Doc 5-1     Filed 02/02/24     Page 16 of 69




        Performance-Based Compensation. In addition to sharing in profits on the basis of its
capital, the Firm will be entitled to receive from each investor’s account (paid by the Master Fund)
a performance fee based on a percentage of the new net income, if any, in respect of such investor’s
account during a performance period. The performance fee can be characterized as creating an
incentive to the Firm to make speculative investments and thus a potential conflict with the
investments of the investors. Since the performance fee will be based upon portfolio gains, both
realized and unrealized (net of realized and unrealized losses), it is possible that the Firm may
receive a performance fee based upon unrealized appreciation in particular positions which is not
in fact achieved upon eventual disposition of such positions. The fact that the performance fee is
based on capital appreciation of the Camshaft Funds may create an incentive for the Firm to make
investments that are more speculative than would be the case in the absence of such performance-
based advisory compensation.

       Share Value Calculation. The value of the dollar class shares will be calculated in U.S.
Dollars.

        Limited Regulatory Oversight. The Camshaft Funds is not registered as an “investment
company” under the U.S. Investment Company Act of 1940, as amended (the “Company Act”)
or any comparable regulatory requirements and does not intend to do so. Accordingly, the
provisions of such regulations, which among other things generally require investment companies
to have a majority of disinterested directors, require securities held in custody at all times to be
maintained in segregated accounts and regulate the relationship between the investment company
and its asset manager, are not applicable to an investment in the Camshaft Funds. Notwithstanding
the foregoing, the U.S. Dodd-Frank Wall Street Reform and Consumer Protection Act (“Dodd-
Frank”) imposes burdensome reporting and recordkeeping requirements on the Camshaft Funds.
The Camshaft Funds intends to trade with dealers who will be required by regulation or will
undertake to fulfill the Camshaft Funds’ Dodd-Frank mandated reporting requirements. The costs
associated with such compliance may result in certain investment strategies in which the Camshaft
Funds engages, or may have otherwise engaged, becoming non-viable or non-economic to
implement.

       Investors Do Not Participate in Management. Except as outlined in the applicable offering
documents investors, in their capacity as such, do not have the right to participate in the
management of the Camshaft Funds or in the conduct of its business, whether by voting or
otherwise. In general, the Firm is solely responsible for managing the Camshaft Funds and for the
investment, sale and reinvestment of the Camshaft Funds’ assets.

         Risk of Litigation. In the ordinary course of business, the Camshaft Funds may be subject
to litigation from time to time. In addition, as a result of certain investments, the Camshaft Funds
could be named as a defendant in a lawsuit or regulatory action. The outcome of such proceedings,
which may materially adversely affect the value of the Camshaft Funds, may be impossible to
anticipate, and such proceedings may continue without resolution for long periods of time. Any
litigation may consume substantial amounts of the Firm’s time and attention, and that time and the
devotion of these resources to litigation may, at times, be disproportionate to the amounts at stake
in the litigation.



                                            11
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 17 of 69




        Service Provider Risks. The Camshaft Funds and the Firm are also reliant upon the proper
performance of duties and obligations of their respective service providers. The Camshaft Funds
may be adversely impacted in a material manner if one or more of the service providers to the
Camshaft Funds or the Firm fail to adequately perform their functions. In addition, key activities
undertaken in connection with the Firm’s and the Camshaft Funds’ operations may be concentrated
in one or more service providers, which may expose the Camshaft Funds to risks if one or more of
such service providers does not provide, or becomes incapable of providing services, in the normal
course of business.

        Institutional and Counterparty Risk. Institutions, such as brokerage firms, banks and
broker dealers, generally have custody of the Camshaft Funds’ portfolio assets and may hold such
assets in “street name.” The Camshaft Funds is subject to the risk that these firms and other
brokers, counterparties or clearinghouses with which the Camshaft Funds deals may default on
their obligations to the Camshaft Funds. Any default by any of such parties could result in material
losses to the Camshaft Funds. Bankruptcy or fraud at one of these institutions could also impair
the operational capabilities or the capital position of the Camshaft Funds. In addition, securities
and other assets deposited with custodians or brokers may not be clearly identified as being assets
of the Camshaft Funds, causing the Camshaft Funds to be exposed to a credit risk with regard to
such parties. The Camshaft Funds generally will only be an unsecured creditor of its trading
counterparties in the event of bankruptcy or administration of such counterparties. In some
jurisdictions, the Camshaft Funds may also only be an unsecured creditor of its brokers in the event
of bankruptcy or administration of such brokers. The Camshaft Funds will attempt to limit its
brokerage and custody transactions to well capitalized and established banks and brokerage firms
in an effort to mitigate such risks, but the collapse of the seemingly well capitalized and established
Bear Stearns and Lehman Brothers demonstrates the limits on the effectiveness of this approach
in avoiding counterparty losses.

        The Camshaft Funds may effect transactions in over-the-counter (“OTC”) and
“interdealer” markets. The participants in such markets are typically not subject to the same level
of credit evaluation and regulatory oversight as are members of “exchange based” markets. This
exposes the Camshaft Funds to the risk that a counterparty will not settle a transaction in
accordance with its terms and conditions because of a dispute over the terms of the contract
(whether or not bona fide) or because of a credit or liquidity problem, thus causing the Camshaft
Funds to suffer a loss. Such counterparty risk is accentuated for contracts with longer maturities
where events may intervene to prevent settlement, or in instances where the Camshaft Funds has
concentrated its transactions with a single or small group of counterparties. The inability to make
complete and “foolproof” evaluations of the financial capabilities of the Camshaft Funds’
counterparties and the absence of a regulated market to facilitate settlement increases the risk to
the Camshaft Funds.

         The Camshaft Funds are likely to have exposure to trading counterparties other than its
prime brokers. If the Camshaft Funds deliver collateral to its trading counterparties under the terms
of its ISDA Master Agreements and any other trading agreements, either by posting initial margin
or on a daily mark-to-market basis, circumstances may arise where a counterparty may be over-
collateralized and/or the Camshaft Funds may from time to time have uncollateralized mark-to-
market exposure to a counterparty in relation to its rights to receive securities and cash. In both
circumstances the Camshaft Funds will be exposed to the creditworthiness of any such
                                              12
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 18 of 69




counterparty and, in the event of the insolvency of a trading counterparty, the Camshaft Funds will
rank as an unsecured creditor in relation to amounts equivalent to any such over-collateralization
and any uncollateralized exposure to such trading counterparty. In such circumstances it is likely
that the Camshaft Funds will be unable to recover any debt in full, or at all.

         The Camshaft Funds’ contractual arrangements with its trading counterparties will
typically contain termination provisions in the event of, among other things, a significant decline
in the net asset value of the Camshaft Funds, calculated on a periodic basis, and/or a decline in the
net asset value of the Camshaft Funds to an absolute floor. Termination of any such contractual
arrangements could seriously impair the ability of the Camshaft Funds to carry on its investment
activities.

        In addition to the foregoing risks associated with a counterparty or prime broker defaulting
or entering into a dispute, there is also the risk that major institutional investors in the Camshaft
Funds may be compelled to withdraw or redeem or that the Camshaft Funds’ counterparties or
brokers will be required to restrict the amount of credit previously granted to the Camshaft Funds
due to their own financial difficulties, resulting in forced liquidation of substantial portions of the
Camshaft Funds’ investments.

        The Camshaft Funds’ brokers and other counterparties may hold the Camshaft Funds’
assets, including assets held as collateral for margin loans or other financing provided to the
Camshaft Funds. Under the terms of such arrangements and under applicable law, a secured party
may be permitted to rehypothecate such assets in connection with securities lending or other
transactions entered into by the secured party. Depending upon the types of instruments traded,
the Camshaft Funds may be subject to risk of loss of its assets on deposit with a counterparty in
the event of the bankruptcy or insolvency of such counterparty, any clearing broker through which
such counterparty executes and clears transactions (whether on behalf of the Camshaft Funds or
on behalf of other customers of such counterparty), any affiliate of such counterparty or any
clearinghouse or exchange on which such counterparty trades (whether on behalf of the Camshaft
Funds or on behalf of other customers of such counterparty).

         The Camshaft Funds are not restricted from dealing with any particular counterparty or
from concentrating any or all transactions with one counterparty. The ability of the Firm to transact
business with any one or number of counterparties, the lack of any meaningful or independent
evaluation of such counterparties’ financial capabilities and the absence of a regulated market to
facilitate settlement may increase the potential for losses by the Camshaft Funds.

        Illiquid Financial Instruments. Financial Instruments purchased by the Camshaft Funds
may lack a liquid trading market, which may result in the inability of the Camshaft Funds to sell
any such security or portfolio investment or to close out a transaction or to cover the short sale of
a position, thereby forcing the Camshaft Funds to incur potentially unlimited losses in such
instruments. This lack of liquidity and depth could be a disadvantage to the Camshaft Funds both
in the realization of the prices that are quoted and the execution of orders at desired prices. In
addition, Financial Instruments that are at one time marketable could become unmarketable (or
more difficult to market) for a number of reasons. For example, in the case of securities traded on
the NASDAQ National Market System, Inc., if the price of the securities falls below the minimum
price required for continued trading, their marketability is likely to be adversely affected or

                                              13
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 19 of 69




effectively eliminated altogether. In addition, most U.S. futures exchanges have established “daily
price fluctuation limits” which preclude the execution of trades at prices outside of the limit, and,
from time to time, the CFTC or the exchanges may suspend trading in market disruption
circumstances. The daily limits establish the maximum amount that the price of a futures contract
may vary either up or down from the previous day’s settlement price. Once the daily limit has been
reached in a particular futures contract, no trades may be made at a price beyond the limit. In these
cases, it is possible that the Camshaft Funds could be required to maintain a losing position that it
otherwise would close and incur significant losses or be unable to establish a position and miss a
profit opportunity. Illiquid Financial Instruments may also be more difficult to value. Liquidity
risk arises in the general funding of the Camshaft Funds’ trading activities. It includes the risk of
the Camshaft Funds not being able to fund trading activities at settlement dates, or liquidate
Financial Instrument positions in a timely manner at a reasonable price. The sale of illiquid
Financial Instruments often requires more time and results in higher brokerage charges or dealer
discounts and other selling expenses than does the sale of securities eligible for trading on national
securities exchanges or in the OTC markets. The Camshaft Funds may not be able to readily
dispose of such illiquid investments and, in some cases, may be contractually prohibited from
disposing of such investments for a specified period of time. Finally, if a substantial number of
investors were to redeem/withdraw from the Camshaft Funds and the Camshaft Funds did not have
a sufficient amount of cash and liquid securities to satisfy in cash such requests, the Camshaft
Funds might have to meet such redemption/withdrawal requests through distributions of illiquid
Financial Instruments.

         Certain positions are typically liquidated on or shortly before the effective
redemption/withdrawal date. If there is a market dislocation, including a daily price fluctuation
limit, affecting such position(s) on such date, the price of the position(s) used to determine the net
asset value of the investor account may be substantially different than the amount for which the
position(s) can ultimately be sold by the Master Fund (or the price that would have been in effect
without such market dislocation). Shorter notice for a redemption/withdrawal may exacerbate this
result. If a market dislocation exists on a date on which the Camshaft Funds attempts to liquidate
positions to satisfy redemptions/withdrawals, the non- redeeming/withdrawing investors (and new
subscribers, if any) would be adversely affected if the relevant portfolio positions are subsequently
sold for less than the price assigned to the positions as of the redemption/withdrawal date.
Alternatively, if the relevant portfolio positions are subsequently sold for greater value, then the
redeeming/withdrawing investor would be adversely affected. These effects are exacerbated in the
case of redemptions/withdrawals representing a significant percentage of the net asset value of the
Camshaft Funds.

        Where appropriate, certain positions in the Camshaft Funds’ investment portfolio that are
illiquid and do not actively trade are marked to market by the Firm, taking into account actual
market prices, market prices of comparable investments and/or such other factors (e.g., the tenor
of the respective instrument) as the Firm deems appropriate. To the extent that marking an illiquid
investment to market is not practicable, an investment will be carried at fair value, as reasonably
determined by the Firm. There is no guarantee that fair value will represent the value that will be
realized by the Camshaft Funds on the eventual disposition of the investment or that would, in
fact, be realized upon an immediate disposition of the investment. As a result, an investor
redeeming/withdrawing its investment from the Camshaft Funds prior to realization of such an
investment may not participate in gains or losses therefrom.
                                             14
             Case 24-50013-BLS          Doc 5-1    Filed 02/02/24      Page 20 of 69




       Cybersecurity Breaches. The Camshaft Funds and the Firm are subject to risks associated
with a breach in their cybersecurity. Cybersecurity is a generic term used to describe the
technology, processes and practices designed to protect networks, systems, computers, programs
and data from “hacking” by other computer users, other unauthorized access and the resulting
damage and disruption of hardware and software systems, loss or corruption of data, as well as
misappropriation of confidential information. If a cybersecurity breach occurs, the Camshaft Funds
may incur substantial costs, including those associated with: forensic analysis of the origin and
scope of the breach; investment losses from sabotaged trading systems; identity theft; unauthorized
use of proprietary information; litigation; adverse investor reaction; the dissemination of
confidential and proprietary information; reputational damage; and increased and upgraded
cybersecurity. Any such breach could expose the Firm and/or the Camshaft Funds to civil liability,
as well as regulatory inquiry and/or action. In addition, any such breach could cause substantial
redemptions/withdrawals from the Camshaft Funds. In addition, investors could be exposed to
additional losses as a result of unauthorized use of their personal information.

        Evolving Privacy Laws. In the ordinary course of business, the Firm collects, processes,
receives, shares and maintains personal information, including data relating to personnel and
investors. As a result, the Firm is subject to various U.S. federal and state privacy and information
security laws regulating personal information and creating potential liability for the mishandling,
misuse or compromise of that personal information. These laws are evolving, and new legislation
may be enacted over time. New privacy laws add additional complexity to compliance programs
and alternative data use that may require additional investment in resources, and could impact
trading strategies.

        Limits of Disclosure. The descriptions in the Camshaft Funds’ offering documents of the
Firm’s investment strategies, the markets and Financial Instruments in which the Camshaft Funds
trades, the risk factors and conflicts of interest involved in doing so and other aspects of the
Camshaft Funds’ operations are subject to material inherent limitations and do not purport to be
either complete or comprehensive. In investing in the Camshaft Funds, investors are entrusting
their capital to the subjective, discretionary market judgment of the Firm, trading in changing,
volatile and uncertain markets. No prospective investor should invest in the Camshaft Funds if
such investor is not capable of understanding and evaluating the risks of such investment.

Risks Associated with the Camshaft Funds’ Investment Strategies

        Global Macro Strategies. The success of the Camshaft Funds’ global macro investment
strategy depends upon the Firm’s ability to identify and exploit perceived fundamental, economic,
financial and political imbalances that may exist in and between global markets across a variety of
Financial Instruments and asset classes. The identification and exploitation of such imbalances and
the prediction of price movements in these instruments involves significant uncertainties due to
their reliance on various factors, including political, economic, international and environmental
trends and events. There can be no assurance that the Firm will be able to identify investment
opportunities or exploit such imbalances. The Camshaft Funds may incur substantial losses if the
investment theses underlying the investment strategies or positions fail to develop as expected by
the Firm.



                                             15
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 21 of 69




        Relative Value Strategy Risks. The success of the Camshaft Funds’ relative value trading
is dependent on the Firm’s ability to exploit relative mispricing’s among interrelated instruments.
Although relative value positions may be considered to have a lower risk profile than directional
trades as the former attempt to exploit price differentials not overall price movements, relative
value investment strategies are by no means without risk. Mispricing’s, even if correctly identified,
may not converge within the time frame within which the Camshaft Funds maintains its positions.
Even pure “riskless” arbitrage—which is rare—can result in significant losses if the arbitrage
cannot be sustained (due, for example, to margin calls). International securities and markets may
not move in correlation with each other or in directions anticipated by the Firm, so that hedging
and arbitrage activities may not be successful. The Camshaft Funds’ relative value investment
strategies are subject to the risks of disruptions in historical price relationships, the restricted
availability of credit and the obsolescence or inaccuracy of its algorithms. Market disruptions may
also force the Camshaft Funds to close out one or more positions. Such disruptions have in the
past resulted in substantial losses for funds employing relative value investment strategies.

        The profitability of relative value trading has been materially reduced in certain asset
classes in the past decade— in part due to the number of market participants seeking to exploit the
same mispricings.

        Long/Short Strategies. The success of the Camshaft Funds’ long/short investment strategy
depends upon the Firm’s ability to identify and purchase securities that are undervalued and
identify and sell short securities that are overvalued. The identification of investment opportunities
in the implementation of the Camshaft Funds’ long/short investment strategies is a difficult task,
and there are no assurances that such opportunities will be successfully recognized or acquired. In
the event that the perceived opportunities underlying the Camshaft Funds’ positions were to fail
to converge toward, or were to diverge further from, values expected by the Firm, the Camshaft
Funds may incur losses. In the event of market disruptions, significant losses can be incurred which
may force the Camshaft Funds to close out one or more positions. Furthermore, any valuation
models used by the Firm, if applicable, to determine whether a position presents an attractive
opportunity consistent with the Firm’s long/short investment strategies may become outdated and
inaccurate as market conditions change.

        Currency Risk – FX Hedging. The Camshaft Funds intends to trade currencies for
speculative or hedging purposes and may (but is not required to) use forward contracts and other
Financial Instruments to seek to hedge against fluctuations in the relative value of the Fund’s
investments in respect of the Euro class shares and the GBP class shares. Hedging does not
eliminate fluctuations in the value of the U.S. Dollar relative to the Euro or British Pounds Sterling
or vice versa, or prevent losses if their relative values change, but rather establishes other positions
designed to gain from those same developments, and such hedging transactions may also limit the
opportunity for gain if the value of the U.S. Dollar should increase in relation to the Euro or British
Pounds Sterling. As with other hedging transactions, currency hedging may result in a poorer
overall performance and increased (rather than reduced) risk for the Camshaft Funds, the Euro
class shares and the GBP class shares. There can be no guarantee that the Firm will be able to enter
into suitable currency hedging transactions at a price and terms sufficient to protect the Camshaft
Funds from a decline in the value of a particular currency and that such hedging transactions will
be able to be executed at a time when the Camshaft Funds wishes to do so.

                                              16
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 22 of 69




        The Camshaft Funds may also invest a portion of its assets in equity securities, fixed
income securities and other investments denominated in currencies other than the U.S. Dollar and
in other Financial Instruments, the prices of which are determined with reference to currencies
other than the U.S. Dollar. Currency markets are highly volatile, and currency trading is highly
leveraged. For example, governments from time to time intervene, directly and by regulation, in
the currency markets, with the specific intention of influencing the exchange rates. Currency
markets are also, in general, highly interest rate sensitive, and may also be affected by trade, fiscal,
monetary and exchange control programs and policies of governments, and national and
international political and economic events and policies. The Camshaft Funds may invest in
currencies of Emerging Markets (as defined below), which may be less liquid than currencies of
developed countries. There can be no guarantee that instruments suitable for hedging currency
exchange rate changes will be available at the time when the Camshaft Funds wishes to use them
or will be able to be liquidated when the Fund wishes to do so. Some currency risks are difficult
or impossible to hedge, including for example the impact of exchange rate fluctuations on portfolio
companies' businesses and macroeconomies. In some countries, the markets for certain of these
hedging instruments are not highly developed or do not exist. To the extent certain currency
exposure is not part of the Camshaft Funds’ investment strategy as described above, the Firm may
hedge against currency fluctuations, but there can be no assurance that such hedging transactions
will be effective.

        Opportunistic Investing. The Camshaft Funds will build a portfolio of both long and short
equity investments where the investment team has identified potential for value from
misunderstood or mispriced opportunities. Although the investment team conducts rigorous
analysis of these opportunities, even if such an opportunity is correctly identified, such opportunity
may not materialize within the time frame of which the Camshaft Funds maintains its positions,
may take considerable time to occur or may result in an alternative strategic action that will result
in closing the investment at a lower value than entry. Market liquidity constraints, borrowing
availability and short squeezes can all have a material impact on the Camshaft Funds’ investments
and can require action to liquidate or exit positions at less than optimal levels.

        General market disruptions may force the Camshaft Funds to close out one or more
positions before the Camshaft Funds can capture gains or when the Camshaft Funds’ trades would
result in losses. Such disruptions have in the past resulted in substantial losses for investment
funds.

        Any long investments in financially troubled issuers carry a potential risk of loss by the
Camshaft Funds. Among the problems involved in assessing and making investments in troubled
issuers is the fact that it frequently may be difficult to obtain information as to the condition of
such issuer. The market prices of the securities of such issuers are also subject to abrupt and erratic
market movements and above average price volatility, and the spread between the bid and asked
prices of such securities may be greater than normally expected. It may take a number of years for
the market prices of such securities to reflect their intrinsic values. It is anticipated that some of
such securities in the portfolio of the Camshaft Funds may not be widely traded, and that the
Camshaft Funds’ position in such securities may be substantial in relation to the market for such
securities.



                                              17
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 23 of 69




        These types of investing requires active monitoring and may, in rare instances, require
participation in bankruptcy or reorganization proceedings by the Firm. To the extent that the Firm
becomes involved in such proceedings, the Camshaft Funds may have a more active participation
in the affairs of the issuer than that assumed generally by an investor. In addition, the Firm’s
participation in such proceedings may restrict or limit the Camshaft Funds’ ability to trade
securities of the subject company. The Camshaft Funds may have limited ability to influence the
management of the issuer or to elect a representative to the issuer’s board of directors or other
governing body, potentially increasing the risk of such investments. In addition, the management
of the issuer or its shareholders may have economic or business interests which are inconsistent
with those of the Camshaft Funds, and they may be in a position to take action contrary to the
Camshaft Funds’ objectives.

        Special Situations. The Camshaft Funds may have investments in issuers involved in (or
the target of) acquisition attempts or tender offers or issuers involved in work-outs, liquidations,
spin-offs, reorganizations, bankruptcies and similar transactions. In any investment opportunity
involving any such type of business enterprise, there exists the risk that the transaction in which
such business enterprise is involved will be unsuccessful, will take considerable time or will result
in a distribution of cash or a new security the value of which will be less than the purchase price
to the Camshaft Funds of the security or other Financial Instruments in respect of which such
distribution is received. Similarly, if an anticipated transaction does not in fact occur, the Camshaft
Funds may be required to sell its investment at a loss. Because there is substantial uncertainty
concerning the outcome of transactions involving financially troubled issuers in which the
Camshaft Funds may invest, there is a potential risk of loss by the Camshaft Funds of its entire
investment in such issuers.

         Short Selling. Short selling involves selling securities which are not owned by the short
seller and borrowing them for delivery to the purchaser, with an obligation to replace the borrowed
securities at a later date. Short selling allows the seller to profit from declines in market prices of
the sold securities to the extent such decline exceeds the transaction costs and the costs of
borrowing the securities. A short sale creates the risk of a theoretically unlimited loss, in that the
price of the underlying security could theoretically increase without limit, thus increasing the cost
to the Camshaft Funds of buying those securities to cover the short position. There can be no
assurance that the Camshaft Funds will be able to maintain the ability to borrow securities sold
short. In particular, (i) a tender offer or similar transaction with respect to a company whose
securities the Camshaft Funds has sold short or (ii) an unexpected shortage in an underlying
commodity with respect to commodity futures that the Camshaft Funds has sold short, could cause
the value of such Financial Instruments to rise dramatically, resulting in substantial losses to the
Camshaft Funds. Regulators have, and may in the future, suspend short sales in Financial
Instruments traded by the Camshaft Funds, which may cause the price of such securities to rise,
resulting in a loss to the Camshaft Funds. Brokers may also require the Camshaft Funds to “cover”
a short position at an inopportune time thereby forcing the Camshaft Funds to purchase the security
at the then-prevailing market price which may be higher than the price at which such security was
originally sold short by the Camshaft Funds.

        Market Data. The Firm’s and the Camshaft Funds’ investment strategies depend on a wide
variety and large quantity of market data obtained from numerous hosts of different suppliers,
including multiple exchanges. Notwithstanding the Firm’s reliance on large quantities of market
                                              18
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 24 of 69




data, sources of market data may decline over time, which could adversely impact the investment
program of the Camshaft Funds. In addition, market data contract pricing and terms are complex
and subject to change without prior notice in many cases; increases in market data contract pricing
could make the acquisition of certain data cost-prohibitive for the Firm which would negatively
impact the Camshaft Funds’ net performance. If data that the Camshaft Funds relies on is
corrupted, compromised or discontinued in any material manner, the Camshaft Funds may suffer
material losses or be exposed to the risk of loss of investment opportunities.

        Credit Ratings. Credit ratings of structured finance products, other fixed-income
instruments and investments represent the rating agencies’ opinions regarding their credit quality
and are not a guarantee of future credit performance of such securities. Rating agencies attempt to
evaluate the safety of principal and interest payments and do not evaluate the risks of fluctuations
in market value. Therefore, the ratings assigned to securities by rating agencies may not fully
reflect the true risks of an investment. Further, in recent years many highly rated structured
securities have been subject to substantial losses.

        Discretionary Aspects of the Firm’s Investment Approach. The Firm’s strategies and
research methodologies retain certain discretionary aspects. In particular, the discretion of the Firm
is expected to be used throughout the research and creation of models, in interpreting data,
choosing signals and ranking their importance. In addition, from time to time, the Firm may
determine to make investment decisions or reallocate the Camshaft Funds’ capital in respect of a
particular asset class or investment strategy in anticipation of, or in reaction to, what the Firm
deems to be certain “material events” in the global economy. Such “material events” include, but
are not limited to, economic turning points, market regime changes, central bank announcements,
geopolitical shifts and other material economic and market or risk events underlying the Camshaft
Funds’ investment strategies and in the Firm’s view represent opportunities to enhance returns,
reduce volatility or protect against potential drawdowns. There can be no assurances that such
interventions will be successful or not increase the Camshaft Funds’ losses attributable to such
external events.


       Use of Leverage. The investment strategies utilized on behalf of the Camshaft Funds
generally involve the use of borrowed funds and otherwise obtaining leveraged exposures to
Financial Instruments. Leverage in respect of certain investment strategies employed on behalf of
the Camshaft Funds may be significant. Such leverage may be employed at the strategy level or
the portfolio level. Use of leverage for investment purposes entails significant risks. Use of
leverage tends to magnify the gains or losses from investment activities and the overall volatility
of the Camshaft Funds. In addition, leverage results in interest expense and other costs and
premiums. If gains earned by the Camshaft Funds’ portfolio fail to cover such costs, the net asset
value of the Camshaft Funds may decrease faster than if there had been no borrowings.

        If securities pledged to brokers or other financial institutions to secure the Camshaft Funds’
margin accounts decline in value, the Camshaft Funds could be subject to a “margin call,” pursuant
to which the Camshaft Funds must either deposit additional funds with the broker, or suffer
mandatory liquidation of the pledged securities to compensate for the decline in value. The prime
brokers and dealers that provide financing to the Camshaft Funds will determine the margin,
haircut and collateral valuation policies that will apply to the Camshaft Funds from time to time.
                                             19
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 25 of 69




Changes by prime brokers and dealers in margin, haircut, financing and valuation policies may
result in margin calls, loss of financing and forced liquidations of positions at disadvantageous
prices. There can be no assurance that the Camshaft Funds will be able to maintain any financing,
and at times, especially during distressed market conditions, brokers and dealers have substantially
reduced the availability of credit. If the Camshaft Funds is unable to obtain financing on terms
acceptable to the Firm, the Camshaft Funds could be forced to liquidate portfolio investments on
a schedule that the Firm would not otherwise follow and incur significant losses.

        Hedging. Hedging techniques involve one or more of the following risks: (i) imperfect
correlation between the performance and value of the instrument and the value of the Camshaft
Funds securities or other objective of the Firm; (ii) possible lack of a secondary market for closing
out a position in such instrument; (iii) losses resulting from interest rate, spread or other market
movements not anticipated by the Firm; (iv) the possible obligation to meet additional margin or
other payment requirements, all of which could worsen the Camshaft Funds’ position; and (v)
default or refusal to perform on the part of the counterparty with which the Camshaft Funds trade.
Furthermore, to the extent that any hedging strategy involves the use of OTC derivatives
transactions, such a strategy would be affected by implementation of various regulations, including
those adopted pursuant to Dodd-Frank.

        The Firm will not, in general, attempt to hedge all market or other risks inherent in the
Camshaft Funds’ positions, and hedges certain risks, if at all, only partially. Specifically, the Firm
may choose not, or may determine that it is economically unattractive, to hedge certain risks—
either in respect of particular positions or in respect of the Camshaft Funds’ overall portfolio. The
Camshaft Funds’ portfolio composition will commonly result in various directional market risks
remaining unhedged. The Firm may rely on diversification to control such risks to the extent that
the Firm believes it is desirable to do so; however, the Camshaft Funds is not subject to formal
diversification policies.

        The ability of the Camshaft Funds to hedge successfully will depend on the ability of the
Firm to predict pertinent price movements or the underlying causes of such price movements,
which cannot be assured. The Firm is not required to hedge and there can be no assurance that
hedging transactions will be available or, even if undertaken, will be effective. In addition, it is not
possible to hedge fully or perfectly against currency fluctuations affecting the value of securities
denominated in non-U.S. currencies because the value of those securities is likely to fluctuate as a
result of independent factors not related to currency fluctuations. Moreover, it should be noted that
the portfolio will always be exposed to certain risks that cannot be hedged, such as counterparty
credit risk. Furthermore, by hedging a particular position, any potential gain from an increase in
the value of such position may be limited.

        Emerging Market Investing. The Camshaft Funds may invest a portion of its assets in the
securities of, or instruments providing exposure to, less developed countries or countries with new
or developing capital markets (“Emerging Markets”), as well as trade the currencies of such
countries to hedge currency exposure. The value of Emerging Markets currencies and securities
may be drastically affected by political developments in the country of issuance. In addition, the
existing governments in the relevant countries could take actions that could have a negative impact
on the Camshaft Funds, including nationalization, expropriation, sudden imposition of capital


                                              20
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 26 of 69




controls, imposition of confiscatory taxation or regulatory or imposition of withholding or other
taxes on interest payments.

        Some of the countries in which the Camshaft Funds may invest have experienced political,
economic and/or social instability. Many such countries have also experienced dramatic swings in
the value of their national currency. There can be no assurance that such instability or such
fluctuations will not occur in the future and, if they do occur, that they will not have a substantial
adverse effect on the performance of the Camshaft Funds.

        The economies of many of the Emerging Markets countries are still in the early stages of
modern development and are subject to abrupt and unexpected change. In many cases,
governments retain a high degree of direct control over the economy and may take actions having
sudden and widespread effects. Also, many Emerging Markets country economies have a high
dependence on a small group of markets or even a single market. Emerging Markets countries also
tend to have periods of high inflation and high interest rates, as well as substantial volatility in
interest rates, which could affect the Camshaft Funds adversely.

        Foreign investment in the Emerging Markets countries is in some cases restricted. Many
of these countries have non-convertible currencies and the value of investments may be affected
by fluctuation in available currency rates and exchange control regulations. The remittance of
profits may therefore be restricted, and the Camshaft Funds may utilize swaps and other forms of
indirect investment to access such markets. Moreover, the banking systems in these countries are
not fully developed and considerable delays may occur in the transfer of funds within, and the
remittance of monies out of, Emerging Markets countries.

       Certain Emerging Markets countries are particularly likely to require identifying
information about entities and persons who have direct, or even indirect, exposure to the securities
of issuers in those countries. This may result in the Camshaft Funds being asked to provide
information about investors to Emerging Markets regulators or to the brokers who are providing
services to the Camshaft Funds in connection with trading activities. Such information may
include, but may not be limited to, the identities, addresses and countries of origin of the investors.

        Volatility. The market value of certain investments held by the Camshaft Funds may be
volatile, and will generally fluctuate due to a variety of factors that are inherently difficult to
predict, including, among other things, the macro business and economic environment, specific
developments or trends in respect of a company or in any particular industry, the market’s overall
perception of risk, general economic conditions, the condition of certain financial markets,
domestic and international economic and political events, prevailing credit spreads, changes in
prevailing interest rates and the financial condition of counterparties.

         Interest Rate Risk. The Camshaft Funds is subject to interest rate risk. Generally, the value
of fixed income securities will change inversely with changes in interest rates. As interest rates
rise, the market value of fixed income securities tends to decrease. Conversely, as interest rates
fall, the market value of fixed income securities tends to increase. This risk will be greater for
long-term securities than for short-term securities. The Firm may attempt to minimize the exposure
of its portfolio to interest rate changes through the use of interest rate swaps, interest rate futures


                                              21
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 27 of 69




and/or interest rate options. However, there can be no guarantee that the Firm will be successful
in mitigating the impact of interest rate changes on its portfolio.


        Potential Inability to Trade or Report Due to Systems Failure. The Firm’s investment
strategies rely extensively on a wide range of information technology systems, including computer
hardware and software systems and will be dependent to a significant degree on the proper
functioning of such internal and external computer systems. Information technology systems are
subject to a number of inherent and unpredictable risks. Accordingly, systems failures, whether
due to third-party failures upon which such systems are dependent or the failure of the Firm’s
hardware or software, could disrupt trading or make trading impossible until such failure is
remedied. Any such failure, and consequential inability to trade (even for a short time), could, in
certain market conditions, cause the Camshaft Funds to experience significant trading losses or to
miss opportunities for profitable trading. Any such failures also could cause a temporary delay in
reports to investors.

        Availability of Investment Opportunities. There can be no assurance that the Firm will be
able to find suitable opportunities consistent with its investment approach or that it believes will
likely to provide the desired returns. Market conditions may limit the availability of investment
opportunities. Such limitations may cause delays in deploying the Camshaft Funds’ capital,
concentration of the Camshaft Funds’ investments and may negatively impact the Camshaft
Funds’ returns.

        No Material Restrictions. The Firm will opportunistically implement whatever investment
strategies it believes from time to time may be best suited to prevailing market conditions and to
the Firm’s investment approach, without material restrictions. Such investment strategies may
involve higher levels of risk than the ones discussed herein. There can be no assurance that the
Firm will be successful in applying any strategy to the Camshaft Funds’ investing.

Risks Relating to Financial Instruments Traded

        Futures. The rapid fluctuations in the market prices of futures interests make an investment
in the Camshaft Funds volatile. Volatility is caused by changes in supply and demand
relationships; weather; agricultural, trade, fiscal, monetary and exchange control programs; U.S.
and non-U.S. political and economic events and policies; and changes in interest rates. If the Firm
incorrectly predicts the direction of the price in a futures interest, large losses may occur and the
Camshaft Funds could lose all or substantially all of its assets.

        Futures prices are highly volatile and are affected by a wide variety of complex and hard
to predict factors; consequently, a primary risk in trading these instruments is rapid fluctuations in
market prices in a short time period. Price fluctuations may affect the Firm’s ability to earn
investment returns for the Camshaft Funds. Market volatility may also depart significantly from
historical averages, which could affect performance. Volatility could create adverse results for the
performance of the Camshaft Funds in several ways. A period of substantial volatility shortly after
an investor’s initial investment, or additional investments thereafter, could adversely affect
performance and cause a significant reduction in such investor’s equity, making it more difficult
to achieve profitability. Substantial volatility prior to the time of a planned redemption/withdrawal

                                             22
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 28 of 69




adversely affect performance, and could reduce the amount of proceeds actually received when
the redemption/withdrawal has been completed.

        Futures exchanges may impose position accountability limits (the “Position Accountability
Limits”) with respect to certain futures contracts traded on each particular futures exchange.
Position Accountability Limits are triggers that would bring the Camshaft Funds’ position(s) to
the attention of the exchange. Through the application of Position Accountability Limits,
exchanges can prohibit an investor from holding a position of more than a specific number of
futures contracts. Under the rules of a futures exchange, if the Camshaft Funds holds a certain
number of futures contracts approaching the Position Accountability Limit, the Camshaft Funds
may be required by the futures exchange to limit or decrease its holdings of such futures contracts
pursuant to the futures exchange’s Position Accountability Limits. If the Camshaft Funds is
required to either limit or decrease its holdings of such futures contracts, or if an exchange lowers
its Position Accountability Limits, the Camshaft Funds may be adversely affected and may not be
able to achieve its investment objective.

        Non-U.S. Futures. Foreign futures transactions involve executing and clearing trades on
non-U.S. futures exchanges. This is the case even if the foreign exchange is formally “linked” to
a U.S. futures exchange, whereby a trade executed on one exchange liquidates or establishes a
position on the other exchange. No U.S. organization regulates the activities of a foreign exchange,
including the execution, delivery and clearing of transactions on such an exchange, and no
domestic regulator has the power to compel enforcement of the rules of the foreign exchange or
the laws of the foreign country. Moreover, such laws or regulations will vary depending on the
foreign country in which the transaction occurs. For these reasons, the Camshaft Funds may not
be afforded certain of the protections which apply to domestic transactions, including the right to
use domestic alternative dispute resolution procedures. In particular, funds received from
customers to margin foreign futures transactions may not be provided the same protections as
funds received to margin futures transactions on domestic exchanges. In addition, the price of any
foreign futures or option contract and, therefore, the potential profit and loss resulting therefrom,
may be affected by any fluctuation in the foreign exchange rate between the time the order is
placed and the time the foreign futures contract is liquidated or the foreign option contract is
liquidated or exercised.

         Credit Default Swaps. The Camshaft Funds may invest in credit default swaps (“CDS”).
A credit default swap is a contract between two parties which transfers the risk of loss if a company
fails to pay principal or interest on time or files for bankruptcy. Credit default swaps can be used
to hedge a portion of the default risk on a single corporate bond or a portfolio of bonds. In addition,
credit default swaps can be used to implement the Firm’s view that a particular credit, or group of
credits, will experience credit improvement or credit impairment. Swap transactions dependent
upon credit events are priced incorporating many variables including the pricing and volatility of
the common stock, and potential loss upon default, among other factors. As such, there are many
factors upon which market participants may have divergent views.

        The Camshaft Funds may also purchase or sell CDS on a basket of reference entities or an
index. In circumstances in which the Camshaft Funds is the credit default swap buyer and does not
own the debt securities that are deliverable under a CDS, the Camshaft Funds is exposed to the
risk that deliverable securities will not be available in the market, or will be available only at
                                              23
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 29 of 69




unfavorable prices, as would be the case in a so-called “short squeeze.” While the credit default
swap market auction protocols reduce this risk, it is still possible that an auction will not be
organized or will not be successful. As a seller of CDS, the Camshaft Funds incurs leveraged
exposure to the credit of the reference entity and is subject to many of the same risks it would incur
if it were holding debt securities issued by the reference entity. However, the Camshaft Funds will
not have any legal recourse against the reference entity and will not benefit from any collateral
securing the reference entity’s debt obligations. In addition, in the event that a cash settlement
auction to identify the relevant deliverable securities, is not established the credit default swap
buyer will have broad discretion to select which of the reference entity’s debt obligations to deliver
to the Camshaft Funds following a credit event and will likely choose the obligations with the
lowest market value in order to maximize the payment obligations of the Camshaft Funds.

         Equity Investments. The Camshaft Funds intends to invest in equity markets, which may
involve substantial risks. Investments in equity markets are highly volatile and may be subject to
wide and sudden fluctuations, with a resulting fluctuation in the Camshaft Funds’ performance.
Equity markets may decline due to factors affecting equity securities markets generally or
particular industries represented in those markets. Factors affecting the equity markets include,
without limitation, real or perceived adverse economic conditions, changes in the general outlook
for corporate earnings, changes in interest or currency rates, political events or adverse investor
sentiment generally. They may also decline due to factors that affect a particular industry or
industries, such as labor shortages or increased production costs and competitive conditions within
an industry. Equity markets tend to be cyclical and may experience periods of turbulence. For the
foregoing reasons, investments in equity markets can be highly speculative and carry a substantial
risk of loss of principal.

        The Camshaft Funds’ single name equity investments may involve substantial risks and
may be subject to wide and sudden fluctuations in market value, with a resulting fluctuation in the
amount of profits and losses. There are no absolute restrictions in regard to the size or operating
experience of the companies in which the Camshaft Funds may invest. Relatively small companies
may lack management depth or the ability to generate internally, or obtain externally, the funds
necessary for growth. Companies with new products or services could sustain significant losses if
projected markets do not materialize. Equity prices are directly affected by issuer specific events,
as well as general market conditions. In addition, in many countries investing in common stocks
is subject to heightened regulatory and self-regulatory scrutiny as compared to investing in debt or
other Financial Instruments. Changes in the structure of the equity markets or new market
participants may materially impede the Camshaft Funds’ investment strategy.

        Fixed Income Investments. The Camshaft Funds intends to invest in bonds and other fixed
income securities of U.S. and non-U.S. issuers. The value of the fixed income securities in which
the Camshaft Funds may invest changes both as general market conditions change and as the
general levels of interest rates fluctuate. When interest rates decline, the value of the Camshaft
Funds’ fixed income securities can be expected to rise. Conversely, when interest rates rise, the
value of such securities is generally expected to decline. Investments in lower rated or unrated
fixed income securities in which the Camshaft Funds may invest, while generally providing greater
opportunity for gain and income than investments in higher rated securities, usually entail greater
risk (including the possibility of default or bankruptcy of the issuers of such securities). Fixed

                                             24
             Case 24-50013-BLS         Doc 5-1      Filed 02/02/24     Page 30 of 69




income securities are generally not exchange traded and therefore, usually carry a higher level of
liquidity and mark-to-market risk potential than most exchange-traded equity securities.

        The Camshaft Funds may take positions in debt securities which rank junior to other
outstanding securities and obligations of the issuer, all or a significant portion of which may be
secured on substantially all of that issuer’s assets. The Camshaft Funds may take positions in debt
securities which are not protected by financial covenants or limitations on additional indebtedness.
The Camshaft Funds may invest in securities which are moral obligations of issuers or subject to
appropriations. The Camshaft Funds will therefore be subject to credit and liquidity risks. In
addition, evaluating credit risk for debt securities of issuers in some jurisdictions involves
uncertainty because credit rating agencies throughout the world have different standards, making
comparison across countries difficult.

       Prepayment Risk. The frequency at which prepayments (including voluntary prepayments
       by the obligors and accelerations due to defaults) occur on debt instruments will be affected
       by a variety of factors including the prevailing level of interest rates and spreads as well as
       economic, demographic, tax, social, legal and other factors. Generally, obligors tend to
       prepay their fixed rate obligations when prevailing interest rates fall below the coupon rates
       on their obligations. Similarly, floating rate issuers and borrowers tend to prepay their
       obligations when spreads narrow.

       In general, “premium” securities (securities whose market values exceed their principal or
       par amounts) are adversely affected by faster than anticipated prepayments, and “discount”
       securities (securities whose principal or par amounts exceed their market values) are
       adversely affected by slower than anticipated prepayments. Since many fixed rate
       obligations will be discount instruments when interest rates and/or spreads are high, and
       will be premium instruments when interest rates and/or spreads are low, such debt
       instruments may be adversely affected by changes in prepayments in any interest rate
       environment.

       The adverse effects of prepayments may impact the Camshaft Funds’ portfolio in two
       ways. First, particular investments may experience outright losses, as in the case of an
       interest-only instrument in an environment of faster actual or anticipated prepayments.
       Second, particular investments may underperform relative to hedges that the Firm may
       have constructed for these investments, resulting in a loss to the Camshaft Funds’ overall
       portfolio. In particular, prepayments (at par) may limit the potential upside of many
       instruments to their principal or par amounts, whereas their corresponding hedges often
       have the potential for unlimited loss.

       High-Yield Securities. The Camshaft Funds may invest in high yield securities. High-yield
       securities face ongoing uncertainties and exposure to adverse business, financial or
       economic conditions which could lead to the issuer’s inability to meet timely interest and
       principal payments. The market values of certain of these lower-rated and unrated debt
       securities tend to reflect individual corporate developments to a greater extent than do
       higher-rated securities which react primarily to fluctuations in the general level of interest
       rates, and tend to be more sensitive to economic conditions than are higher-rated securities.
       Companies that issue such securities are often highly leveraged and may not have available

                                             25
             Case 24-50013-BLS         Doc 5-1     Filed 02/02/24     Page 31 of 69




       to them more traditional methods of financing. It is possible that a major economic
       recession could disrupt severely the market for such securities and may have an adverse
       impact on the value of such securities. In addition, it is possible that any such economic
       downturn could adversely affect the ability of the issuers of such securities to repay
       principal and pay interest thereon and increase the incidence of default of such securities.

       Corporate Debt. Bonds, notes and debentures issued by corporations may pay fixed,
       variable or floating rates of interest, and may include zero-coupon obligations. Corporate
       debt instruments may be subject to credit ratings downgrades. Other instruments may have
       the lowest quality ratings or may be unrated. In addition, the Camshaft Funds may be paid
       interest in kind in connection with its investments in corporate debt and related Financial
       Instruments (e.g., the principal owed to the Camshaft Funds in connection with a debt
       investment may be increased by the amount of interest due on such debt investment). Such
       investments may experience greater market value volatility than debt obligations that
       provide for regular payments of interest in cash and, in the event of a default, the Camshaft
       Funds may experience substantial losses.

       Mezzanine Debt. Mezzanine debt is typically junior to the obligations of a company to
       senior creditors, trade creditors and employees. The ability of the Master Fund to influence
       a company’s affairs, especially during periods of financial distress or following an
       insolvency, will be substantially less than that of senior creditors. Mezzanine debt
       instruments are often issued in connection with leveraged acquisitions or recapitalizations
       in which the issuers incur a substantially higher amount of indebtedness than the level at
       which they had previously operated. Default rates for mezzanine debt instruments have
       historically been higher than for investment-grade instruments. In the event of the
       insolvency of a portfolio company of the Master Fund or similar event, the Master Fund’s
       debt investment therein will be subject to fraudulent conveyance, subordination and
       preference laws.

       Non-Performing Nature of Debt. Certain debt instruments may be non-performing or in
       default. Furthermore, the obligor or relevant guarantor may also be in bankruptcy or
       liquidation. There can be no assurance as to the amount and timing of payments, if any,
       with respect to such debt instruments.

       Troubled Origination. When financial institutions or other entities that are insolvent or in
       serious financial difficulty originate debt, the standards by which such instruments were
       originated, the recourse to the selling institution, or the standards by which such
       instruments are being serviced or operated may be adversely affected.

        Obligations of Governments, their Agencies and Instrumentalities. The Camshaft Funds
intends to invest in government securities. Government securities are obligations of, or are
guaranteed by, governments, their agencies or instrumentalities. These instruments include bills,
certificates of indebtedness and notes and bonds issued by governments, states, municipalities or
by government agencies or instrumentalities. Some government securities, such as U.S. Treasury
bills and bonds, are supported by the full faith and credit of the government treasury; others are
supported by the right of the issuer to borrow from the government treasury; others are supported
by the discretionary authority of the government to purchase the agency’s obligations; still others

                                            26
              Case 24-50013-BLS           Doc 5-1      Filed 02/02/24      Page 32 of 69




are supported only by the credit of the instrumentality. Certain events, including bankruptcy filings
by certain municipalities, have highlighted the risks inherent in investing in government securities.
It is difficult, if not impossible, to determine the extent to which such filings will become more
common. Bankruptcy laws applicable to governments are relatively untested and may not provide
the same protections to creditors as those contained in bankruptcy laws applicable to non-
government debtors. It is impossible to predict whether the Partnership will be able to successfully
avoid losses relating to defaults by issuers of governmental securities.

        Various factors may adversely affect the value and yield of municipal securities. These
factors include imbalances in demand, potential legislative changes, as well as uncertainties related
to the tax status of municipal bonds or the rights of others holding these securities. Returns will
depend on a positively sloped yield curve and the relationship between the tax-exempt and taxable
yield curves. Adverse changes in the slope of the municipal bond yield curve as well as its
relationship to the taxable yield curve, among other things, could have a material adverse effect
on performance. Investments in municipal securities may be subject to liquidity risk because of
the fragmentation of the municipal bond market and the unique effect that political, legislative
and/or regulatory actions can have on the municipal bond market, compared to the taxable markets.

        The Camshaft Funds intends to invest in sovereign debt issued or guaranteed by U.S. and
non-U.S. governments, their agencies and instrumentalities either in the currency of their domicile
or in a foreign currency. Investors in sovereign debt may be asked to participate in debt
restructuring, including the deferral of interest and principal payments, and may also be requested
by the issuer to extend additional loans. Investments in sovereign debt are subject to varying
degrees of credit risk depending on the level of government support. Certain sovereign debt
securities are supported by the full faith and credit of the national government or political
subdivision or agency, while others lack such support. Investments in sovereign debt are also
subject to varying degrees of credit risk as a result of financial or political instability in the relevant
countries. Certain events, such as the political and economic instability in various European Union
(the “EU”) countries, have highlighted the risks inherent in investing in sovereign debt, including
an EU member choosing to leave the Eurozone and redenominating its debt. The unwillingness of
one or more EU countries to provide assistance to distressed sovereigns within the EU underlines
the unexpected political dynamics that may arise to undermine investor expectations regarding the
safety of sovereign debt.

        Additionally, the financial markets are roiled from time to time by evolving developments
relating to possible sovereign defaults or moratoriums. A sovereign’s financial condition is subject
to numerous factors—social programs, political pressure, supra-national economic actions—all or
many of which may be exogenous to the Firm’s analysis and research and may from time to time
dominate market pricing (even if contrary to fundamental/trading dynamic pricing correctly
identified by the Firm). It is impossible to predict whether the Camshaft Funds will be able to
successfully avoid losses relating to sovereign default. There is no current means of collecting on
defaulted sovereign debt as part of bankruptcy or other proceedings.

       In addition to general default risk relating to sovereign debt, if the Camshaft Funds invests
in sovereign debt denominated in a currency other than U.S. Dollars (or in respect of which
payments of principal or interest are paid in a currency other than U.S. Dollars), the Camshaft
Funds will be exposed to the risk that one or more jurisdictions may impose currency controls that
                                                27
              Case 24-50013-BLS          Doc 5-1      Filed 02/02/24      Page 33 of 69




would limit the Camshaft Funds’ ability to convert such payments of principal or interest to
U.S. Dollars. It is impossible to predict whether any such currency controls will be imposed.

        Countries or territories (including Venezuela, Russia, Argentina, Puerto Rico, Turkey and
Lebanon) have encountered, or are currently encountering, difficulties in servicing their external
national or government debt obligations, which led to defaults on government obligations and the
restructuring of certain indebtedness. One sovereign default may have an adverse effect on the
markets of both the defaulting country or territory and non-defaulting countries and/or territories.

         Repurchase and Reverse Repurchase Agreements. The Camshaft Funds may enter into
repurchase and reverse repurchase agreements. When the Camshaft Funds enters into a repurchase
agreement, it “sells” securities to a broker-dealer or financial institution, and agrees to repurchase
such securities on a mutually agreed date for the price paid by the broker-dealer or financial
institution, plus interest at a negotiated rate. In a reverse repurchase transaction, the Camshaft
Funds “buys” securities from a broker-dealer or financial institution, subject to the obligation of
the broker-dealer or financial institution to repurchase such securities at the price paid by the
Camshaft Funds, plus interest at a negotiated rate. The use of repurchase and reverse repurchase
agreements by the Camshaft Funds involves certain risks. For example, if the seller of securities
to the Camshaft Funds under a reverse repurchase agreement defaults on its obligation to
repurchase the underlying securities, as a result of its bankruptcy or otherwise, the Camshaft Funds
will seek to dispose of such securities, which action could involve costs or delays. If the seller
becomes insolvent and subject to liquidation or reorganization under applicable bankruptcy or
other laws, the Camshaft Funds’ ability to dispose of the underlying securities may be restricted.
It is possible, in a bankruptcy or liquidation scenario, that the Camshaft Funds may not be able to
substantiate its interest in the underlying securities. Finally, if a seller defaults on its obligation to
repurchase securities under a reverse repurchase agreement, the Camshaft Funds may suffer a loss
to the extent that it is forced to liquidate its position in the market, and proceeds from the sale of
the underlying securities are less than the repurchase price agreed to by the defaulting seller.

         Distressed Securities. The fact that certain of the companies in whose securities the
Camshaft Funds may invest are in transition, out of favor, financially leveraged or troubled, or
potentially troubled, and may be or have recently been involved in major strategic actions,
restructurings, bankruptcy, reorganization or liquidation, means that their securities are likely to
be particularly risky investments although they also may offer the potential for correspondingly
high returns. Such companies’ securities may be considered speculative, and the ability of such
companies to pay their debts on schedule could be affected by adverse interest rate movements,
changes in the general economic climate, economic factors affecting a particular industry, or
specific developments within such companies. In addition, there is no minimum credit standard
that is a prerequisite to the Camshaft Funds’ investment in any instrument, and a significant portion
of the obligations and preferred stock in which the Camshaft Funds invests may be less than
investment grade.

        Investment in the securities of financially troubled issuers and operationally troubled
issuers involves a high degree of credit and market risk. Although the Camshaft Funds invests in
select companies that, in the view of the Firm, have the potential over the long-term for capital
growth, there can be no assurance that such financially troubled issuers or operationally troubled
issuers can be successfully transformed into profitable operating companies. There is a possibility
                                               28
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24       Page 34 of 69




that the Camshaft Funds may incur substantial or total losses on its investments. During an
economic downturn or recession, securities of financially troubled or operationally troubled issuers
are more likely to go into default than securities of other issuers. In addition, it may be difficult to
obtain information about financially troubled issuers and operationally troubled issuers.

        Securities of financially troubled issuers and operationally troubled issuers are less liquid
and more volatile than securities of companies not experiencing financial difficulties. The market
prices of such securities are subject to erratic and abrupt market movements and the spread
between bid and asked prices may be greater than normally expected. In addition, it is anticipated
that many of the Camshaft Funds’ portfolio investments may not be widely traded and that the
Camshaft Funds’ investment in such securities may be substantial relative to the market for such
securities. As a result, the Camshaft Funds may experience delays and incur losses and other costs
in connection with the sale of its portfolio securities.

        Derivative Instruments. The Camshaft Funds will use various derivative financial
instruments for both hedging and synthetic investing. Derivative financial instruments include
credit derivatives, interest rate swaps, total return swaps, options, forward currency contracts and
futures. In addition, the Camshaft Funds may from time to time use both exchange-traded and
OTC futures and options as part of its investment strategy and for hedging purposes. Such
derivative instruments may be highly volatile, involve certain special risks and expose investors
to a high risk of loss.

        The risks relating to OTC derivatives that are not otherwise cleared through a central
clearing party include, but are not limited to, the following: (i) credit risk (the exposure to the
possibility of loss resulting from a counterparty’s failure to meet its financial obligations); (ii)
market risk (adverse movements in the price of a financial asset or commodity); (iii) legal risk (the
characterization of a transaction or a party’s legal capacity to enter into it could render the financial
contract unenforceable, and the insolvency or bankruptcy of a counterparty could preempt
otherwise enforceable contract rights); (iv) operational risk (inadequate controls, deficient
procedures, human error, system failure or fraud); (v) documentation risk (exposure to losses
resulting from inadequate documentation); (vi) liquidity risk (exposure to losses created by
inability to prematurely terminate the derivative); (vii) systemic risk (the risk that financial
difficulties in one institution or a major market disruption will cause uncontrollable financial harm
to the financial system); (viii) concentration risk (exposure to losses from the concentration of
closely related risks such as exposure to a particular industry or exposure linked to a particular
entity); and (ix) settlement risk (the risk faced when one party to a transaction has performed its
obligations under a contract but has not yet received value from its counterparty).

        Use of derivatives and other techniques such as short sales for hedging purposes involves
certain additional risks, including (i) dependence on the ability to predict movements in the price
of the Financial Instruments hedged; (ii) imperfect correlation between movements in the Financial
Instruments on which the derivative is based and movements in the assets of the underlying
portfolio; and (iii) possible impediments to effective portfolio management or the ability to meet
short-term obligations because of the percentage of a portfolio’s assets segregated to cover its
obligations. In addition, by hedging a particular position, any potential gain from an increase in
value of such position may be limited. See also “Short Selling,” “Options” and “Leverage.”


                                               29
             Case 24-50013-BLS         Doc 5-1     Filed 02/02/24      Page 35 of 69




         Transactions in OTC derivatives may involve other risks as well. It may be impossible to
liquidate an existing position, to assess the value of a position or to assess the exposure to risk.
The low initial margin deposits normally required to establish a position in such instruments permit
a high degree of leverage. As a result, a relatively small movement in the price of a contract may
result in a profit or a loss which is high in proportion to the amount of funds actually placed as
initial margin and may result in unquantifiable further losses exceeding any margin deposited.
Further, when used for hedging purposes there may be an imperfect correlation between these
instruments and the investments or market sectors being hedged. Lastly, regulatory restraints may
restrict the notional amount of instruments that the Camshaft Funds may trade.

        Swaps. The Camshaft Funds may enter into swap agreements (including total return and
foreign exchange swaps) and other types of OTC transactions with broker-dealers or other
financial institutions. Depending on their structures, swap agreements may increase or decrease
the Camshaft Funds’ exposure to various securities, commodities, indices, currencies or other
investments or units of measure. The values of the Camshaft Funds’ swap positions would increase
or decrease depending on the changes in value of the underlying asset.

        Total return swaps typically involve commitments to pay interest in exchange for a market-
linked return, both based on notional amounts. Depending on the change in the value or level of
the underlying instrument, basket of instruments, or index, the Camshaft Funds will either receive
or make a payment based on the amount of the change. To the extent the total return of the
instrument, basket of instruments, or index underlying the transaction exceeds or falls short of the
offsetting interest rate obligation, the Camshaft Funds will receive a payment from or make a
payment to the counterparty, respectively.

         The use of swaps involves investment techniques and risks different from and potentially
greater than those associated with ordinary securities transactions. Swaps involve the risk that the
price of the swap used by the Camshaft Funds to calculate net asset value does not accurately
reflect its fair market value, which could have a favorable or unfavorable effect on the net asset
value of the Camshaft Funds. Some swaps are complex and, in the case of bilateral (uncleared)
swaps, may be valued based on quotations given by the Camshaft Funds’ swap counterparty, who
has adverse interests to the Camshaft Funds with respect to the value of the swap. In certain cases
related to bilateral (uncleared) swaps, the Camshaft Funds’ swap counterparty may be the only
source of value quotations for a swap, while in other cases, multiple quotes may be available.
There are also different methodologies that may be used to determine the value of a credit default
swap and credit default swap spreads may be wide. As a result of the foregoing factors, the
Camshaft Funds may not be able to close out swaps at the price used by the Camshaft Funds to
calculate its net asset value. Also, under certain circumstances related to bilateral (uncleared)
swaps, if a swap counterparty undervalues the Camshaft Funds’ interest in a swap, it could require
the Camshaft Funds to transfer greater amounts of collateral to the counterparty than if the swap
was valued at fair market value.

        Because the master and credit support agreements for bilateral (uncleared) OTC swap
transactions are individually negotiated with a specific counterparty, there exists the risk that the
parties may interpret contractual terms (e.g., the definition of default) differently when the
Camshaft Funds seeks to enforce its contractual rights. If that occurs, the Camshaft Funds may be


                                             30
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 36 of 69




forced to seek to enforce its contractual rights through legal proceedings, which may be costly and
time consuming.

        There is currently little case law characterizing total rate of return swaps and other
derivatives, interpreting their provisions and characterizing their tax treatment. There can be no
assurance that future decisions construing similar provisions to those in many of the Camshaft
Funds’ swap agreements or other related documents or additional regulations and laws governing
such derivatives will not have a material adverse effect on the Camshaft Funds.

        The CFTC requires certain derivative transactions that were previously executed on a bi-
lateral basis in the OTC markets to be executed through a regulated futures or swap exchange or
execution facility. The SEC is also expected to impose similar requirements on certain security-
based derivatives in the near future, though it is not yet clear when these parallel SEC requirements
will go into effect. Such requirements may make it more difficult and costly for investment funds,
including the Camshaft Funds, to enter into highly tailored or customized transactions. They may
also render certain strategies in which the Camshaft Funds might otherwise engage impossible or
so costly that they will no longer be economical to implement. If the Camshaft Funds decides to
execute derivatives transactions through such exchanges or execution facilities—and especially if
it decides to become a direct member of one or more of these exchanges or execution facilities—
the Camshaft Funds would be subject to the rules of the exchange or execution facility, which
would bring additional risks and liabilities, and potential requirements under applicable regulations
and under rules of the relevant exchange or execution facility.

        With respect to cleared OTC derivatives, the Camshaft Funds will not face a clearinghouse
directly but rather through an OTC derivatives dealer that is registered with the CFTC or SEC to
act as a clearing member. The Camshaft Funds may face the indirect risk of the failure of another
clearing member customer to meet its obligations to its clearing member. Such scenario could arise
due to a default by the clearing member on its obligations to the clearinghouse, triggered by a
customer’s failure to meet its obligations to the clearing member.

        Options. The Camshaft Funds may engage in the trading of options. Trading options is
highly speculative and may entail risks that are greater than investing in other securities. The value
of options will be affected by market volatility and prices of options are generally more volatile
than prices of other securities. Furthermore, specific market movements of the securities
underlying an option cannot accurately be predicted.

        In trading options, the Firm speculates on market fluctuations of securities and securities
indices (or other indices, such as credit indices) while investing only a small percentage of the
value of the securities underlying such option. A change in the market price of the underlying
securities or underlying market index will cause a much greater change in the price of the option
contract. In addition, to the extent that the Camshaft Funds purchases options that it does not sell
or exercise, the Camshaft Funds will suffer the loss of the premium paid in such purchase. To the
extent the Camshaft Funds sells uncovered options and must deliver the underlying securities at
the option price, the Camshaft Funds has a theoretically unlimited risk of loss if the price of such
underlying securities increases. If the Camshaft Funds must buy those underlying securities, the
Camshaft Funds risks the loss of the difference between the market price of the underlying
securities and the option price. Any gain or loss derived from the sale or exercise of an option will
                                             31
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 37 of 69




be reduced or increased, respectively, by the amount of the premium paid. The expenses of option
investing include commissions payable on the purchase and on the exercise or sale of an option.

        Stock Index Options. The Camshaft Funds may purchase and sell call and put options on
stock indices listed on securities exchanges or traded in the over-the-counter market for the purpose
of realizing its investment objectives or for the purpose of hedging its portfolio. A stock index
fluctuates with changes in the market values of the stocks included in the index. The effectiveness
of purchasing or writing stock index options for hedging purposes will depend upon the extent to
which price movements in the Camshaft Funds’ portfolio correlates with price movements of the
stock indices selected. Because the value of an index option depends upon movements in the level
of the index rather than the price of a particular stock, whether the Camshaft Funds realizes gains
or losses from the purchase or writing of options on indices depends upon movements in the level
of prices in the stock market generally or, in the case of certain indices, in an industry or market
segment, rather than movements in the price of particular stocks. Accordingly, successful use by
the Camshaft Funds of options on stock indices will be subject to the Firm’s ability to correctly
predict movements in the direction of the stock market generally or of particular industries or
market segments.

        Forward Contracts. The Camshaft Funds may enter into forward contracts, generally for
currency hedging purposes. In the absence of exchange trading and the involvement of clearing
houses, there are no standardized terms for forward contracts. Accordingly, the parties are free to
establish such settlement times and underlying amounts of a security or currency as desirable,
which may vary from the standardized provisions available through any futures contract. In
addition, as two party obligations for which there is no secondary market, forward contracts
involve counterparty risk not present with futures.

        Foreign Securities and Foreign Currencies. The Camshaft Funds may invest in securities
of foreign issuers (including by entering into total return swap and similar Financial Instruments),
securities denominated in foreign currencies, and depository receipts, such as ADRs, which are
receipts typically issued by a U.S. bank or trust company and which evidence ownership of
underlying securities of non-U.S. corporations. Investing in foreign securities, currencies, and/or
ADRs may present a greater degree of risk than investing in domestic securities and currencies
due to possible exchange rate fluctuations, a change in trade balances, possible exchange controls,
less publicly-available information, more volatile markets, less regulation, less favorable tax
provisions (including possible withholding taxes), war or expropriation. In particular, the dollar
value of portfolio securities of non-U.S. issuers fluctuates with changes in market and economic
conditions abroad and with changes in relative currency values. The application of foreign tax laws
(e.g., the imposition of withholding taxes on dividend or interest payments) or confiscatory
taxation may also affect investment in foreign securities.

         The Camshaft Funds may trade on exchanges located outside the United States. Trading
on U.S. exchanges is subject to SEC and CFTC regulation and oversight, as applicable, including,
for example, minimum capital requirements for commodity brokers, regulation of trading practices
on the exchanges, prohibitions against trading ahead of customer orders, prohibitions against
filling orders off exchanges, prescribed risk disclosure statements, testing and licensing of industry
sales personnel and other industry professionals, and recordkeeping requirements. Trading on
foreign exchanges is not regulated by the SEC, CFTC or any other U.S. governmental agency or
                                             32
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 38 of 69




instrumentality and may be subject to regulations that are different from those to which U.S.
exchange trading is subject, provide less protection to investors than trading on U.S. exchanges,
and may be less vigorously enforced than regulations in the United States. Positions on foreign
exchanges also are subject to the risk of exchange controls, expropriation, excessive taxation or
government disruptions.

        Commodities. Trading commodities and commodity interests (e.g., futures contracts on
commodities, securities indices or currencies) is highly speculative and may entail risks that are
greater than the risks associated with investing in equity securities. Prices of commodity interests
are generally more volatile than prices of equity securities and such volatility is expected to reoccur
in the future. Because of the low margin deposits typically required in commodity contract trading,
a relatively small movement in the market price of a commodity contract may result in a
disproportionately large profit or loss to the Camshaft Funds. Market movements can be volatile
and are difficult to predict. Weather, inflation, trade policies, geopolitical events and other
unforeseen events can also have a significant impact upon commodity prices. A variety of possible
actions by various government agencies also can inhibit profitability or can result in losses. Such
events could result in large market movements and volatile market conditions and create the risk
of significant losses for the Camshaft Funds.

Market-Related and Regulatory Risks

        Market Disruptions; Governmental Intervention. The global financial markets have in the
past decade undergone pervasive and fundamental disruptions that have led to extensive and
unprecedented governmental intervention. Such intervention has in certain cases been
implemented on an “emergency” basis, suddenly and substantially eliminating market
participants’ ability to continue to implement certain strategies or manage the risk of their
outstanding positions. In addition—as one would expect given the complexities of the financial
markets and the limited time frame within which governments have felt compelled to take action—
these interventions have typically been unclear in scope and application, resulting in confusion
and uncertainty which in itself has been materially detrimental to the efficient functioning of the
markets as well as previously successful investment strategies.

         The Camshaft Funds may incur major losses in the event of disrupted markets and other
extraordinary events in which historical pricing relationships become materially distorted. The risk
of loss from pricing distortions is compounded by the fact that in disrupted markets many positions
become illiquid, making it difficult or impossible to close out positions against which the markets
are moving. The financing available to the Camshaft Funds from its banks, dealers and other
counterparties is typically reduced in disrupted markets. Such a reduction may result in substantial
losses to the Camshaft Funds. Market disruptions may from time to time cause dramatic losses for
the Camshaft Funds, and such events can result in otherwise historically low-risk strategies
performing with unprecedented volatility and risk.

        The Dodd-Frank Wall Street Reform and Consumer Protection Act (“Dodd-Frank”) seeks
to regulate markets, market participants and Financial Instruments that previously have been
unregulated and substantially alters the regulation of many other markets, market participants and
Financial Instruments. Because the implementation of Dodd-Frank is ongoing, it is difficult to
predict the ultimate impact of Dodd-Frank on the Camshaft Funds, the Firm and the markets in

                                              33
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 39 of 69




which they trade and invest. Dodd-Frank and regulations adopted pursuant to Dodd-Frank could
have a material adverse impact on the profit potential of the Camshaft Funds.

        Effect of Speculative Position Limits. The CFTC and the United States commodities
exchanges impose limits referred to as “speculative position limits” on the maximum net long or
net short speculative positions that any person may hold or control in any particular futures or
options contracts traded on United States commodities exchanges. For example, the CFTC
currently imposes speculative position limits on a number of agricultural commodities (e.g., corn,
oats, wheat, soybeans and cotton) and United States commodities exchanges currently impose
speculative position limits on many other commodities. Dodd-Frank significantly expands the
CFTC’s authority to impose position limits with respect to futures contracts and options on futures
contracts, swaps that are economically equivalent to futures or options on futures, and swaps that
are traded on a regulated exchange and certain swaps that perform a significant price discovery
function. In response to this expansion of its authority, in 2012, the CFTC proposed a series of
new speculative position limits with respect to futures and options on futures on so-called “exempt
commodities” (which includes most energy and metals contracts) and with respect to agricultural
commodities. Those proposed speculative position limits were vacated by a United States District
Court, but the CFTC has again proposed a new set of speculative position limit rules which are not
yet finalized (or effective). If the CFTC is successful in its second attempt to establish speculative
position limits, the size or duration of positions available to the Camshaft Funds may be severely
limited. All accounts owned or managed by the Firm are likely to be combined for speculative
position limit purposes. Thus, the Camshaft Funds could be required to liquidate positions it holds
in order to comply with such limits, or may not be able to fully implement trading instructions in
order to comply with such limits. Any such liquidation or limited implementation could result in
substantial costs to the Camshaft Funds.

        European Market Infrastructure Regulation. The European Market Infrastructure
Regulation (“EMIR”) introduced certain requirements in respect of derivative contracts, which
apply to varying degrees to entities established in the EU, regardless of whether they are
transacting with counterparties established in the EU or outside of the EU. As such, where the
Camshaft Funds transacts with EU counterparties, they will likely require the transaction to be
EMIR-compliant, with the result that the Camshaft Funds becomes subject to additional
obligations and/or costs that may not otherwise have applied.

        Broadly, EMIR’s requirements in respect of derivative contracts are (i) mandatory clearing
of OTC derivative contracts declared subject to the clearing obligation; (ii) risk mitigation
techniques in respect of uncleared OTC derivative contracts; and (iii) reporting and record-keeping
requirements in respect of all derivative contracts. The application of these requirements is
dependent on the classification of the counterparties as financial counterparties (“FCs”), non-
financial counterparties above the clearing threshold (“NFC+s”) or non-financial counterparties
below the clearing threshold (“NFC-s”).

        The EU regulatory framework and legal regime relating to derivatives comprises not only
EMIR but also includes a package of legislation, technical standards and related guidance
collectively known as MiFID II as described below.



                                             34
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 40 of 69




         Prospective investors should be aware that there may be ongoing costs (whether direct or
indirect) of compliance with EMIR, and that EMIR may adversely affect the Camshaft Funds’
ability to engage in certain derivative transactions.

        MiFID II. The European Union Markets in Financial Instruments Directive (“MiFID”)
governs the provision of investment services and activities in relation to, as well as the organized
trading of, financial instruments such as shares, bonds, units in collective investment schemes and
derivatives. MiFID will be comprehensively revised and replaced by a new EU directive and
regulation, collectively referred to as “MiFID II”, from January 3, 2018. Although the Camshaft
Funds is not organized in the EU, and is not authorized or regulated by any EU member state
financial services regulator, certain aspects of MiFID II may have an impact on the Camshaft
Funds.

        MiFID II imposes certain restrictions as to the trading of shares and derivatives, which
could apply to transactions made by or with the Camshaft Funds. Subject to certain conditions and
exceptions, the Camshaft Funds may be unable to trade shares or derivatives with affected
counterparties other than as provided by MiFID II. MiFID II also applies position limits to the size
of a net position that a person can hold at all times in commodity derivatives traded on EU trading
venues and in “economically equivalent” OTC derivatives.

        More generally, EU regulated firms that have trading relationships with the Camshaft
Funds may be obliged by MiFID II to impose certain requirements on the Camshaft Funds, or they
may seek to do so contractually, with a view to satisfying their own compliance obligations. It is
difficult to predict the full impact of MiFID II on the Camshaft Funds. Prospective investors should
also be aware that there may be costs (whether direct or indirect) of compliance with MiFID II.

        EU Short Selling Regulation. On November 1, 2012, the EU Regulation on Short Selling
and Certain Aspects of Credit Default Swaps (the “SSR”) became directly applicable in all member
states of the EU. The SSR applies to short sales of, and short positions relating to, the issued share
capital of companies whose shares are admitted to trading on a regulated market or multilateral-
trading facility in the EU (unless the principal trading venue for the relevant shares is located in a
country outside the EU) (“EU listed shares”), among other types of investments. The SSR imposes
certain private and public disclosure obligations in respect of short positions in EU listed shares
which apply to all natural or legal persons, irrespective of regulatory status, located inside or
outside the EU. The SSR also contains prohibitions on uncovered short sales of EU listed shares
in certain circumstances. National regulators, and in certain circumstances, the European
Securities and Markets Authority, are able to take certain additional emergency measures
(including complete bans on short-selling activities) if certain conditions are met. The SSR may
prevent the Firm from fully expressing negative views in relation to EU listed shares. Accordingly,
the ability of the Firm to implement the investment approach and fulfill the investment objective
of the Camshaft Funds may be constrained.

        International Investing. Investing outside the United States may involve greater risks than
investing in the United States. Investing in emerging and certain non-U.S. markets involves
additional risks and special considerations not typically associated with investing in other more
established economies or markets. Such risks may include, without limitation: (i) increased risk of
nationalization or expropriation of assets or confiscatory taxation; (ii) greater social, economic and

                                             35
              Case 24-50013-BLS          Doc 5-1      Filed 02/02/24      Page 41 of 69




political uncertainty, including civil and ethnic unrest, war, abrupt changes in political and
economic power, changes in government institutions and policies or famine; (iii) potentially higher
dependence on exports and the corresponding importance of international trade; (iv) greater
volatility, less liquidity and smaller capitalization of markets; (v) greater volatility in currency
exchange rates; (vi) greater risk of inflation; (vii) capital controls, such as limitations on the ability
to exchange local currencies for U.S. Dollars, and trade restrictions, including quotas, tariffs,
customs, duties and other assessments, which may lead to significant costs and delays in obtaining
licenses, approvals and authorizations; (viii) increased likelihood of governmental involvement in
and control over the economy, issuers and financial markets; (ix) governmental decisions to cease
support of economic reform programs or to impose centrally planned economies; (x) preferential
treatment of local interests over foreign interests by the government, including legislators,
regulators and courts; (xi) differences in auditing and financial reporting standards which may
result in the unavailability of reliable, current or detailed information about issuers; (xii) less
extensive or more extensive regulation of the markets; (xiii) longer settlement periods for
transactions and less reliable clearance and custody arrangements; (xiv) greater correlation to
commodity price movements; (xv) imposition of withholding or other taxes on dividends, interest,
capital gains, gross sales or disposition proceeds or other income; (xvi) higher transaction costs;
and (xvii) certain considerations regarding the maintenance of the Camshaft Funds’ securities with
non-U.S. brokers and securities depositories. Moreover, non-U.S. companies are generally not
subject to uniform accounting, auditing and financial reporting standards, practices and
requirements comparable to those applicable to United States companies.

        Non-U.S. markets may also have different clearance and settlement procedures, and in
certain markets there have been times when settlements have failed to keep pace with the volume
of securities transactions, making it difficult to conduct such transactions. Delays in settlement
could result in periods when assets of the Camshaft Funds are uninvested and no return is earned
thereon. The inability of the Camshaft Funds to make intended security purchases due to settlement
problems or the risk of intermediary counterparty failures could cause the Camshaft Funds to miss
investment opportunities. The inability to dispose of a security due to settlement problems could
result either in losses to the Camshaft Funds due to subsequent declines in the value of such
security or, if the Camshaft Funds has entered into a contract to sell the security, could result in
possible liability to the purchaser. Transaction costs of buying and selling non-U.S. securities,
including brokerage, tax and custody costs, may be higher than those involved in U.S. transactions.
Furthermore, many non-U.S. financial markets, while generally growing in volume, have, for the
most part, substantially less volume than U.S. markets, and securities of many non-U.S. companies
are historically less liquid and their prices historically more volatile than securities of comparable
U.S. companies.

         The economies of individual non-U.S. countries may also differ favorably or unfavorably
from the U.S. economy in such respects as growth of gross domestic product, rate of inflation,
volatility of currency exchange rates, depreciation, capital reinvestment, interest rates, resources,
self-sufficiency and balance of payments position.

        United Kingdom Membership of the European Union. The United Kingdom (“UK”)
ceased to be a member of the EU on January 31, 2020 (“Brexit”). During a prescribed period (the
“Transition Period”), certain transitional arrangements were in effect, such that the UK continued
to be treated, in most respects, as if it were still a member of the EU, and generally remained
                                               36
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 42 of 69




subject to EU law. On December 24, 2020, the EU and the UK reached an agreement in principle
on the terms of certain agreements and declarations governing the ongoing relationship between
the EU and the UK, including the EU-UK Trade and Cooperation Agreement (the “Agreement”),
and on December 30, 2020, the Council of the European Union adopted a decision authorizing the
signature of the Agreement and its provisional application for a limited period between January 1,
2021 to February 28, 2021, pending ratification of the Agreement by the European Parliament.
The Transition Period ended on December 31, 2020. The Agreement is limited in its scope
primarily to the trade of goods, transport, energy links and fishing, and uncertainties remain
relating to certain aspects of the UK’s future economic, trading and legal relationships with the
EU and with other countries. The actual or potential consequences of Brexit, and the associated
uncertainty, could adversely affect economic and market conditions in the UK, in the EU and its
member states and elsewhere, and could contribute to instability in global financial markets.

        Current Political Uncertainty. Some of the results of recent elections and referenda have
been unexpected and resulted in material market changes and increases in market uncertainty.
Given recent changes in administrations and applicable law following such recent elections and
referenda, the future of current regulations, or the adopting of new regulations, is also uncertain.
While these uncertainties may create investments opportunities for the Camshaft Funds, such
uncertainties could alternatively have adverse impacts on the Camshaft Funds. Predicting the
outcome of political processes and events is inherently difficult and uncertain. If the Firm fails to
anticipate political events or predicts them incorrectly, it may cause the Camshaft Funds to miss
investment opportunities or incur losses. There may be detrimental implications for the value of
certain of the Camshaft Funds’ investments in certain markets, its ability to enter into transactions
or to value or realize its investments or otherwise to implement its investment program or the
Firm’s investment strategies.

        Risk of Natural Disasters, Epidemics and Terrorist Attacks. Countries and regions in
which the Camshaft Funds invests, where the Firm has offices or where the Camshaft Funds or the
Firm otherwise do business are susceptible to natural disasters (e.g., fire, flood, earthquake, storm
and hurricane) and epidemics, pandemics or other outbreaks of serious contagious diseases. The
occurrence of a natural disaster or epidemic could adversely affect and severely disrupt the
business operations, economies and financial markets of many countries (even beyond the site of
the natural disaster or epidemic) and could adversely affect the Camshaft Funds’ investment
program or the Firm’s ability to do business. In addition, terrorist attacks, or the fear of or the
precautions taken in anticipation of such attacks, could, directly or indirectly, materially and
adversely affect certain industries in which the Camshaft Funds invests or could affect the
countries and regions in which the Camshaft Funds invests, where the Firm has offices or where
the Camshaft Funds or the Firm otherwise do business. Other acts of war (e.g., war, invasion, acts
of foreign enemies, hostilities and insurrection, regardless of whether war is declared) could also
have a material adverse impact on the financial condition of industries or countries in which the
Camshaft Funds invests.

        COVID-19. The recent global outbreak of the novel coronavirus (COVID-19) is currently
creating unprecedented economic and social uncertainty throughout the world. The ultimate
impact of the COVID 19 outbreak is difficult to predict, but it is likely that COVID-19 will have
a materially adverse impact on global, national and local economies in the immediate future and
that such negative impact is likely to persist for some time. In particular, disruptions to commercial
                                             37
             Case 24-50013-BLS         Doc 5-1     Filed 02/02/24      Page 43 of 69




activity across economies due to the imposition of quarantines, remote working policies, “social
distancing” practices and travel restrictions, and/or failures to contain the outbreak despite these
measures, could materially and adversely impact the Camshaft Funds’ investments. Similar
disruptions may occur in respect of the Firm’s and the Camshaft Funds’ service providers and
counterparties (including providers of financing), which could also negatively impact the
Camshaft Funds. While there are indications of various governmental responses to the potential
negative effects of COVID-19, it is unclear how effective these responses will be and what other
impacts such responses may have on the overall performance of markets or the Camshaft Funds.

        ERISA Matters. Most pension and profit sharing plans, individual retirement accounts and
other tax-advantaged retirement funds are subject to provisions of the Code, ERISA, or both, which
may be relevant to a decision as to whether such an investor should invest in the Camshaft Funds.
There may, for example, be issues as to whether such an investment is “prudent.” Legal counsel
should be consulted by such an investor before investing in the Camshaft Funds.

     AN INVESTMENT IN CAMSHAFT AND THE CAMSHAFT FUNDS IS
SPECULATIVE AND INVOLVES A HIGH DEGREE OF RISK. INVESTMENTS
INCLUDING THE RISK THAT THE ENTIRE INVESTMENT MAY BE LOST. NO
GUARANTEE OR REPRESENTATION IS MADE THAT THE FUNDS’ INVESTMNENT
OBJECTIVES WIL BE ACHIEVED.

Item 9. Disciplinary Information

       This Brochure, as dated on page 1, reflects that there are no material legal or disciplinary
events that have occurred with respect to Camshaft or management persons within the past 10
years.

Item 10. Other Financial Industry Activities and Affiliations

      Camshaft is exempt from registration as a commodity pool operator (“CPO”) and a
commodity trading advisor (“CTA”) with the Commodities Future Trading Commission
(“CFTCF”).

        As described above in Items 5 and 6, Camshaft receives asset-based and performance-
based compensation from the Funds. The amounts payable to Camshaft are based directly on the
net asset value of the Funds. To the extent that valuation of assets is determined based upon
information provided by Camshaft, because there is, for example, no public market price available,
there may be a conflict of interest. Camshaft will value such assets in accordance with its valuation
policies and procedures.

        Camshaft, and other professionals of Camshaft (directly or through its affiliates) may
make, and in some cases have made, a capital contribution to one or more of the Funds and,
therefore, may be viewed as having an incentive to favor such Funds over other Clients, including
pooled investment vehicles in which Camshaft or such persons are not invested (which may
include other Camshaft Funds). Camshaft routinely waives the applicable management fees and
performance fees for Camshaft-affiliated investors.


                                             38
             Case 24-50013-BLS         Doc 5-1     Filed 02/02/24     Page 44 of 69




      Certain of the above conflicts may also be generally addressed through adherence with
Camshaft’s compliance policies and procedures and its Code of Ethics.

Item 11. Code of Ethics, Participation or Interest in Client Transactions and Personal Trading

        Camshaft has adopted a Code of Ethics pursuant to Rule 204A-1 under the Advisers Act
(the “Code of Ethics”). All “access persons” (including employees, managers and officers) of
Camshaft must comply with the Code of Ethics. The Code of Ethics states that Camshaft personnel
must always place the interests of Camshaft’s Clients first. The Code of Ethics sets forth standards
of conduct expected of Camshaft’s personnel, which reflect the fiduciary obligations of Camshaft
and its personnel to its Clients, and requires Camshaft’s personnel to comply with applicable
federal securities laws. The Code of Ethics also requires each employee of Camshaft to report
potential violations of the Code of Ethics promptly to Camshaft’s Chief Compliance Officer (the
“CCO”). Camshaft provides each employee with a copy of the Code of Ethics upon
commencement of employment and any amendments as required., Employees are required to
provide a written acknowledgement that they have received the Code of Ethics, including any
amendments no less than annually.

        Camshaft’s CCO receives copies account statements for all of its access persons who
maintain brokerage accounts no less than quarterly. In addition, each access person must submit
to the CCO an annual acknowledgement and certification stating that the access person will
comply with the Code of Ethics. The Code of Ethics further requires access persons to submit
quarterly transaction reports (or duplicate brokerage statements) that detail the access person’s
securities transactions for each quarter, for the CCO to review. Finally, the Code of Ethics also
contains restrictions on the use of insider information and material non-public information
regarding Clients.

       Camshaft keeps records of reports and other information that access persons are required
to submit under the Code of Ethics. The CCO reports on issues that arise under the Code of Ethics
to Camshaft’s senior management at least annually. Clients and prospective Clients can obtain a
copy of the Code of Ethics upon request by contacting Camshaft by telephone at (305) 619-1383
or by email to william@camshaftcapital.com.

       As described above in Item 10, Camshaft and certain of its management personnel,
employees or affiliates will have a financial interest in investments made by one or more of the
Camshaft Funds through their participation in such Funds as a managing member, investment
manager, administrative member, director or investor, as applicable. Camshaft and such persons
may, therefore, be viewed as having an incentive to favor such Funds over other Clients, including
Funds in which such persons are not invested.

        In addition, Camshaft may solicit Clients to invest in Camshaft Funds for which Camshaft
and certain of its management personnel, employees or affiliates serve as managing member,
administrative member, investment manager or director, as applicable, and/or have a financial
interest. Additionally, because certain of the Funds for which Camshaft acts as managing member,
investment manager or director may invest in other Funds for which Camshaft acts in a similar
capacity, Camshaft may be deemed to be recommending to such Funds that they buy securities in
which Camshaft and such Camshaft-related persons have a financial interest and/or securities that

                                            39
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 45 of 69




Camshaft and such Camshaft-related persons also buys for themselves (i.e., interests in other
Funds). To address these potential conflicts, Funds will not bear a double-layering of asset-based
fees or performance-based fees in connection with their investment in other Camshaft Funds. Each
Fund will, however, be responsible for its pro rata share of the expenses of the other Fund in which
it invests.

      Certain of the above conflicts are generally addressed through adherence to Camshaft’s
Compliance Manual and its Code of Ethics.

Item 12. Brokerage Practices

        Camshaft is responsible for determining what securities will be purchased and sold for each
Client and selecting the broker-dealer to execute transactions on behalf of Clients. Purchases and
sales of securities for a Client must be made in accordance with the investment objectives,
strategies and policies of such Client.

        It is Camshaft’s policy to seek best execution on behalf of its Clients – that is, Camshaft
seeks to achieve the best overall qualitative execution for a Client in a particular circumstance.
Best execution is not synonymous with the lowest brokerage commission. Camshaft may cause a
Client to pay a brokerage commission in excess of that which another broker might have charged
for executing the same transaction if it determines that the commission paid was reasonable in
relation to the value of the services provided by the broker.

         In seeking to achieve best execution, Camshaft considers the full range and quality of
services a broker may provide, including ,but not limited to, the experience and skill of the broker’s
securities traders; the broker’s accessibility to primary markets and quotation services; for
NASDAQ securities, whether a broker makes a market in that security; a broker’s past history of
successful, prompt and reliable execution of client trades; the financial strength and stability of the
broker; the broker’s administrative efficiency; commission rates; the overall net economic result
to a client (involving both price paid or received and any commissions and other costs paid); the
security price and its volatility; the size of the transaction, including the ability to effect the
transaction at all where a large block is involved; the broker’s availability to execute possibly
difficult transactions in the future; and the receipt of research services. In addition, for purposes of
monitoring best execution, Camshaft generally performs comparisons between executed prices
and volume-weighted average prices each trading day for each broker.

         Camshaft generally does not utilize “soft dollars” or “pay-up” for research. “Soft dollars”
refers to Camshaft’s receipt of research or other products or services other than execution from
brokers. Camshaft may receive, without cost and unrelated to the execution of securities
transactions, a broad range of research services from broker-dealers, including information on the
economy, industries, groups of securities and individual companies, statistical information, market
data, accounting and legal interpretations, political developments, pricing and appraisal services,
credit analysis, risk measurement analysis, performance analysis and other information which may
affect the economy and/or security prices. Camshaft may also pay broker-dealers and their
affiliates for certain specialized data and services, such as benchmark information, that are also
unrelated to the execution of securities transactions.


                                              40
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24     Page 46 of 69




        In the event that Camshaft were to receive any “soft dollar” benefits, however, Camshaft
expects that they would qualify under the safe harbor provided for under Section 28(e) of the
Securities Exchange Act of 1934, as amended. If Camshaft were to use Client brokerage
commissions (or markups or markdowns) to obtain “soft dollar” benefits, such as research or other
products or services, it would receive a benefit because it does not have to produce or pay for the
research, products or services. Consequently, Camshaft would have an incentive to select or
recommend a broker-dealer based on its interest in receiving “soft dollar” benefits, rather than on
its Clients’ interest in receiving most favorable execution.

        Camshaft does not consider, in selecting or recommending broker-dealers, any Client
referrals it may receive from a broker-dealer or third party. Camshaft does not recommend, request
or require that a Client direct the execution of transactions through a specified broker-dealer, nor
does it have any arrangement in which it permits a Client to direct transactions to a specific broker-
dealer.

        Despite the highly customized nature of its advice, Camshaft may on occasion purchase or
sell the same securities for more than one Client account at the same time or same day, and in so
doing will allocate investment opportunities and trades fairly. “Fair” treatment does not mean
identical treatment of all Clients. Rather, it means that Camshaft does not discriminate on an
impermissible basis against one Client or group of Clients. When Camshaft transacts securities for
more than one Client account, the investment opportunities and trades must be allocated in a
manner consistent with Camshaft’s fiduciary duties and in accordance with the Firm's investment
allocation procedures.

        Camshaft may combine or “bunch” orders to obtain best execution, to negotiate more
favorable commission rates or to allocate equitably among Camshaft’s Clients differences in prices
and commissions or other transaction costs that might have been obtained had such orders been
placed independently. Camshaft’s determination with respect to allocations will be based on what
is appropriate under the particular circumstances, and the allocation may be made based upon
relevant factors, which may include: (i) cash availability and need; (ii) suitability; (iii) when only
a small percentage of the order is executed, shares may be allocated to the account with the smallest
order or the smallest position or to an account that is out of line with respect to security or sector
weightings relative to other portfolios, with similar mandates; (iv) allocations may be given to one
account when one account has limitations in its investment guidelines which prohibit it from
purchasing other securities which are expected to produce similar investment results and can be
purchased by other accounts; (v) if an account reaches an investment guideline limit and cannot
participate in an allocation, shares may be reallocated to other accounts (this may be due to
unforeseen changes in an account’s assets after an order is placed); (vi) with respect to sale
allocations, allocations may be given to accounts low in cash; (vii) in cases when a pro rata
allocation of a potential execution would result in a de minimis allocation in one or more accounts,
Camshaft may exclude the account(s) from the allocation and the transactions may be executed on
a pro rata basis among the remaining accounts; or (viii) in cases where a small proportion of an
order is executed in all accounts, shares may be allocated to one or more accounts on a random
basis. For equity investments, generally, each Client will receive the same average price as other
participants in the bunched transaction.



                                             41
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 47 of 69




        Clients may pay more when Camshaft does not aggregate trades, as seeking to place
separate, non-simultaneous transactions in the same security for multiple Clients may negatively
affect market price, transaction commissions and/or trade execution. A Client’s non-participation
in bunched trades may result in lost opportunities to execute securities transactions for such
Client’s account that other Clients participating in bunched trades were able to execute.

Item 13. Review of Accounts

       Camshaft’s Managing Director and one or more members of Camshaft’s investment team
review positions in Camshaft Fund accounts on an ongoing basis to monitor the Camshaft Funds’
compliance with the investment objectives and guidelines described in the Funds’ offering
documents. The accounts of Camshaft Fund investors are valued monthly by the administrator,
who forwards an account statement to Fund investors on a monthly basis. Investors in the Funds
may receive other periodic and annual written reports as set forth in the applicable Fund’s offering
documents. Camshaft also conducts meetings with Clients and investors in the Funds upon request.
Any Managed Account Clients will receive the written reporting provided for in the Managed
Account Agreement governing such accounts, if applicable.

Item 14. Client Referrals and Other Compensation

       Camshaft does not receive an economic benefit from any person who is not a Client for
providing investment advice or other advisory services.

         Camshaft may, from time to time, enter into arrangements with third parties for marketing
and solicitation activities. If Camshaft pays a cash fee to anyone for soliciting separate account
Clients on its behalf, Camshaft will comply with the requirements of the SEC’s Marketing Rule
(Rule 206(4)-1 under the Advisers Act) to the extent applicable. This rule requires, among other
things, a written agreement between the investment adviser and the person soliciting Clients on its
behalf, and that the soliciting person provide a disclosure document to the potential Client at the
time that the solicitation is made. Camshaft may pay a portion or percentage of the compensation
that it receives from Clients for investment advisory services to a third-party, but this will not result
in any Client being charged fees at a rate in excess of the rate of fees that Camshaft customarily
charges for similar services to comparable accounts, nor will Camshaft charge any Client any other
amount for the purpose of offsetting the cost of obtaining an account through a third-party referral.

Item 15. Custody

        Generally, Camshaft does not have custody of Client assets other than the assets of the
Camshaft Funds. Camshaft acts as managing member or investment manager of the Camshaft
Funds and is authorized under the Funds’ governing documents to deduct fees from each Fund
investor’s account. Such powers cause Camshaft to be deemed to have custody of the Camshaft
Funds’ assets for purposes of the SEC’s custody rule. Accordingly, to meet the requirements of
the custody rule, the Camshaft Funds are subject to an annual audit in accordance with generally
accepted accounting principles conducted by an independent public accountant registered with the
Public Company Accounting Oversight Board and the audited financial statements are distributed
to investors in the Funds within 90 days of the Funds’ fiscal year end (in accordance with rules
required of registered commodity pool operators).

                                               42
              Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 48 of 69




        In the event that Camshaft has any Managed Account Clients in the future, it generally
expects that it will not have custody over the assets of such accounts. Managed Account Clients
will receive quarterly account statements from the qualified custodian for their accounts and should
carefully review those statements. Camshaft generally will not provide statements to Managed
Account Clients, except if specifically requested or in certain limited circumstances. Any Managed
Account Clients who receive account statements from Camshaft should compare those statements
with the account statements received from the qualified custodian.

Item 16. Investment Discretion

        Camshaft has discretionary authority over the investment activities of its Clients. In the
case of the Funds, this discretionary authority is generally granted to Camshaft pursuant to the
organizational documents of each Fund and/or pursuant to Camshaft’s investment advisory
agreement with such Fund. For any Managed Account Clients, discretionary authority is granted
to Camshaft pursuant to a Managed Account Agreement, which may impose restrictions on this
discretion and specify the types of investments permitted. Camshaft is obligated to exercise its
investment discretion in a manner consistent with the stated investment objectives, policies,
guidelines and restrictions/limitations for a particular Client account.

Item 17. Voting Client Securities

        Camshaft has the authority to vote all proxy proposals and corporate actions (collectively,
“proxies”) on behalf of the Funds it advises, and may be delegated the authority to vote proxies
held in any Managed Accounts that it may advise in the future. However, depending on the
securities in which its Clients are invested, Camshaft may not frequently vote proxies. To the
extent that Camshaft invests in a security for a Client for which a proxy vote may arise and
Camshaft receives timely notice of such proxy from the Client’s prime broker under the terms of
the applicable prime broker agreement, Camshaft is guided by general fiduciary principles and
will seek to treat proxies in a manner intended to enhance the overall economic value of the
applicable Client’s assets. Camshaft may (and often does) refrain from voting a Client’s proxy
under certain circumstances, including, but not limited to, when (i) the economic effect on
shareholder’s interests or the value of the portfolio holding is indeterminable or insignificant; (ii)
voting the proxy would unduly impair the investment management process; or (iii) the cost of
voting the proxies outweighs the benefits or is otherwise impractical. In addition, Camshaft may
refrain from voting a proxy on behalf of its Clients’ accounts due to (1) de minimis holdings; (2)
de minimis impact on the portfolio; (3) items relating to non-U.S. issuers (such as those described
below); (4) contractual arrangements with Clients; and/or (5) their authorized delegates or the
failure of a proxy to provide sufficient information to allow for informed decision making. For
example, Camshaft may refrain from voting a proxy of a non-U.S. issuer due to logistical
considerations that may have a detrimental effect on Camshaft’s ability to vote the proxy. These
issues may include, but are not limited to: (a) proxy statements and ballots being written in a
foreign language; (b) untimely notice of a shareholder meeting; (c) requirements to vote proxies
in person; (d) restrictions on non-U.S. person’s ability to exercise votes; (e) restrictions on the sale
of securities for a period of time in proximity to the shareholder meeting (e.g., share blocking); or
(f) requirements to provide local agents with power of attorney to facilitate the voting instructions.
Any actual or apparent conflict of interest between the interests of Camshaft and its Clients is


                                              43
             Case 24-50013-BLS          Doc 5-1     Filed 02/02/24      Page 49 of 69




resolved in a manner that is consistent with the best interests of Clients and in a manner not affected
by such actual or apparent conflict of interest.

       Camshaft currently does not permit Clients to direct its vote in a particular solicitation.

Item 18. Financial Information

       Currently, there is no financial condition that is reasonably likely to impair our ability to
meet contractual commitments to Clients.




                                              44
 Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 50 of 69




         EXHIBIT 5

DOCUMENT FILED UNDER SEAL
  Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 51 of 69




         EXHIBIT 6

DOCUMENT FILED UNDER SEAL
  Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 52 of 69




         EXHIBIT 7

DOCUMENT FILED UNDER SEAL
Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 53 of 69




       EXHIBIT 8
            Case 24-50013-BLS      Doc 5-1   Filed 02/02/24   Page 54 of 69




    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

 GLAS TRUST COMPANY LLC, in its                )
 capacity as Administrative Agent and          )
 Collateral Agent, and TIMOTHY R.              )
 POHL,                                         )
                                               )
                     Plaintiffs,               )
                                               )
       v.                                      )    C.A. No. 2023-0488-MTZ
                                               )
 RIJU RAVINDRAN, BYJU’S ALPHA,                 )
 INC., and TANGIBLE PLAY, INC.,                )
                                               )
                     Defendants.               )

    UNSWORN FOREIGN DECLARATION OF RIJU RAVINDRAN IN
     SUPPORT OF DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
       MOTION TO ENFORCE STATUS QUO ORDER AND TO
        COMPEL AN ANSWER TO INTERROGATORY NO. 1

      I, Riju Ravindran, hereby declare as follows pursuant to 10 Del. C. § 5356:

      1.     I am a Defendant in the above-captioned action.

      2.     I submit this Declaration in support of Defendants’ Opposition to

Plaintiffs’ Motion to Enforce Status Quo Order and to Compel an Answer to

Interrogatory No. 1 (the “Motion to Enforce”).

      3.     This Declaration is based on my personal knowledge as well as

knowledge I have gained as a director and officer of Byju’s Alpha, Inc. (“Alpha”).

      4.     Alpha was incorporated on September 27, 2021, and (i) is an indirect,

wholly owned subsidiary of Think and Learn Private Limited, and (ii) part of a group

of related business entities (collectively, “Byju’s”).
           Case 24-50013-BLS     Doc 5-1    Filed 02/02/24   Page 55 of 69




      5.      I was appointed as the sole director of Alpha on September 27, 2021

and Chief Executive Officer, President, Chief Financial Officer and Secretary of

Alpha on September 29, 2021.

      6.      Alpha is the borrower under a credit and guarantee agreement, dated as

of November 24, 2021 (the “Credit Agreement”), governing a term loan facility with

an aggregate principal amount of $1.2 billion (the “Term Loan”).

      7.      At the time of the entry of the Status Quo Order in this action, Alpha

held three bank accounts. Alpha had bank accounts at JP Morgan Chase (“JPM

Account”), Silicon Valley Bank and Bank of America (collectively, “Bank

Accounts”).

      8.      In late November 2021, the funds received pursuant to the Term Loan

were deposited into the JPM Account. The purpose of the Term Loan was to fund

the core overseas business of Byju’s. To fund the operations of Byju’s, money

received pursuant to the Term Loan was dispersed to various Byju’s entities at

different intervals. Plaintiff GLAS Trust Company LLC and Alpha’s lenders

understood the purpose of the Term Loan, and that it would not simply rest in the

Bank Accounts.

      9.      Subsequent to the receipt of funds by Alpha, Alpha transferred

approximately $500 million from certain of the Bank Accounts to an investment

fund (the “Investment Fund”). At the time of the December 2022 compliance


                                        2
              Case 24-50013-BLS    Doc 5-1    Filed 02/02/24   Page 56 of 69




certificate discussed in the Motion to Enforce, approximately USD 500 Million was

held in the Investment Fund.

      10.      Prior to the commencement of the present action, the amount to the

credit of Alpha with the Investment Fund was moved to another Byju’s-affiliated

entity within the United States. There neither was, nor is, any prohibition on

movement or investment of funds. At the time this action was filed, the Investment

Fund in respect of Alpha was inactive. I do not have paper copies of the Investment

Fund account statements in respect of Alpha as I used to access these online.

      11.      Details of the transfers from certain of the Bank Accounts to the

Investment Fund can be accessed via online access to the Bank Accounts and by

reviewing contemporaneous bank statements of the Bank Accounts, to which Pohl

has access.

      12.      Prior to the entry of the Status Quo Order, I relied upon online access

to the Bank Accounts. In order to gain online access, I would be sent a temporary

One-Time Password (“OTP”), which was sent to my mobile phone each time I

attempted to log in to the Bank Accounts. I was unable to log into the Bank Accounts

any other way.

      13.      The transactions discussed in paragraphs 12 and 15 of the Motion to

Enforce were debited due to prior auto debit instructions in respect of Alpha’s pre-

existing obligations in the ordinary course of business. Because there was not


                                          3
           Case 24-50013-BLS      Doc 5-1       Filed 02/02/24   Page 57 of 69




enough time to cancel these auto debit instructions prior to the Court’s oral ruling at

the May 18th status quo hearing and ultimate entry of the Status Quo Order on May

22nd, Byju’s funded the SVB Account with the exact amounts to be debited to ensure

that the balance of the Alpha funds would not be reduced. The transfers discussed

at paragraphs 12 of the Motion to Enforce occurred prior to the entry of the Status

Quo Order, on the day of the hearing. The transfers discussed at paragraph 15 of the

Motion to Enforce occurred on the day the Status Quo Order was entered. The

instructions to cancel the existing auto debit instructions were subsequently provided

and as a result funds should not have been deducted in June and will not be deducted

going forward.

      I declare under penalty of perjury under the law of Delaware that the foregoing

is true and correct and that I am physically located outside of the geographic

boundaries of the United States, Puerto Rico the United States Virgin Islands, and

any territory or insular possession subject to the jurisdiction of the United States.


Executed this 25th day of June, 2023, in Dubai, United Arab Emirates.




                                                  Riju Ravindran




                                            4
Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 58 of 69




       EXHIBIT 9
              Case 24-50013-BLS        Doc 5-1     Filed 02/02/24      Page 59 of 69



                                                      IN THE CIRCUIT COURT OF THE 11TH
                                                      JUDICIAL CIRCUIT IN AND FOR
                                                      MIAMI-DADE COUNTY, FLORIDA

                                                      CASE NO. 2023-022640-CA-01 (43)


GLAS TRUST COMPANY LLC, in its capacity as
Administrative Agent and Collateral Agent,

       Plaintiff,

v.

CAMSHAFT CAPITAL FUND, LP, CAMSHAFT
CAPITAL ADVISORS, LLC, CAMSHAFT CAPITAL
MANAGEMENT, LLC, and JOHN DOE,

      Defendants.
___________________________________________/

     CAMSHAFT DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S FIRST SET OF
     REQUESTS FOR PRODUCTION AND FIRST SET OF INTERROGATORIES

       Defendants Camshaft Capital Fund, LP (“Camshaft Capital”), Camshaft Capital

Advisors, LLC (“Camshaft Advisors”), and Camshaft Capital Management, LLC (“Camshaft

Management” and, together with Camshaft Capital and Camshaft Advisors, collectively

“Camshaft” or “Defendants”), by and through undersigned counsel and pursuant to Fla. R. Civ.

P. 1.340 and 1.350, hereby serve the following objections to the First Set of Request for

Production and First Set of Interrogatories (together, the “Discovery Requests”) propounded by

Plaintiff GLAS Trust Company LLC (“GLAS”).

       1.        Camshaft objects to the Discovery Requests on the basis that it has filed a

Motion to Stay Discovery, and incorporates by reference the objections to discovery raised

therein.

       2.      Camshaft objects to the Discovery Requests as premature because it is not

apparent that Plaintiff either has standing to bring the claims in its Complaint, or if its Complaint

states a cause of action.
             Case 24-50013-BLS         Doc 5-1       Filed 02/02/24   Page 60 of 69



       3.      Camshaft objects to the Discovery Requests because they encompass proprietary

and confidential trade-secret materials under Florida law, as argued in Camshaft’s Motion to

Stay Discovery and supported by the declaration of William C. Morton.

       4.      Camshaft objects to the Discovery Requests as overbroad, not relevant to the

subject matter of the pending action or any claim or defense, and not proportional to the needs of

the case to the extent their requests are not reasonably limited either in time or in scope to the

particular investments at issue as framed by Plaintiff’s Complaint.

       5.      Camshaft objects to the Discovery Requests as overbroad because they define

both “BYJU” and “BYJU’s Alpha” to include more than thirty separate distinct entities and each

of their respective unnamed and unidentified “consultants, advisors, representatives, agents,

attorneys, accountants, employees,” requiring Camshaft unreasonably to speculate about which

documents might be responsive.

       6.      Camshaft objects to the Discovery Requests as vague to the extent they

unreasonably require Camshaft to speculate about the materials being sought.

       7.      Camshaft objects to the Discovery Requests insofar as they request Mr. William

C. Morton to “[i]dentify every relationship (whether professional or personal)” as vague,

undefined, require Camshaft unreasonably to speculate what information is being sought, and

contravene Mr. Morton’s right to privacy under Article I, Section 23 of the Florida Constitution.

       8.      Camshaft objects to the Discovery Requests insofar as they request Camshaft to

comment on statements by third parties who are not agents or employees of Camshaft or

describe the mental state of third parties who are not under Camshaft’s control, as such

requests are vague, ambiguous, and unreasonably require Camshaft to speculate regarding

the information being sought.




                                                 2
             Case 24-50013-BLS         Doc 5-1       Filed 02/02/24   Page 61 of 69



       9.      Camshaft objects to the Discovery Requests to the extent they seek information

protected by the attorney-client privilege, the work product doctrine, or any other applicable

privilege, including but not limited to the Discovery Requests’ requests for “legal documents.”

Inadvertent disclosure of any privileged information in response to the Discovery Requests shall

not be deemed a waiver of any applicable privilege.

       10.     Camshaft objects to the Discovery Requests to the extent they seek information

not within Camshaft’s possession, custody, or control.

       11.     All objections are based on information presently known to Camshaft based upon

reasonable and diligent investigation conducted to date. Objections set forth herein are made

without prejudice to Camshaft’s right to supplement, amend, or otherwise revise these responses

and objections to the extent any of the information provided contains errors or omissions or if

more accurate or complete information becomes available, and to raise any additional objections

it may have in the future.

       12.     All objections to the Discovery Requests are provided without waiver of, and with

express reservation of (a) all objections as to the competency, relevancy, materiality, and

admissibility of the responses and the subject matter thereof as evidence in any further

proceedings in this action, including trial and/or final hearing, or in any other action; (b) all

privileges, including the attorney-client privilege and the work product doctrine and the

accountant-client privilege; (c) the right to object on any ground at any time to a demand or

request for further responses to these or any other discovery requests; and (d) the right to move

for a protective order to protect the confidentiality of any information disclosed or for any other

purpose provided by law.




                                                 3
             Case 24-50013-BLS         Doc 5-1       Filed 02/02/24    Page 62 of 69



Dated: November 6, 2023.                          Respectfully submitted,



                                                     HOGAN LOVELLS US LLP
                                                     600 Brickell Avenue
                                                     Suite 2700
                                                     Miami, Florida 33131
                                                     Tel: 305-459-6500
                                                     Fax: 305-459-6550
                                                     By:/s/ David Massey
                                                     David Massey
                                                     Florida Bar No. 86129
                                                     david.massey@hoganlovells.com
                                                     Marty Steinberg
                                                     Florida Bar No. 187293
                                                     marty.steinberg@hoganlovells.com

                                                     Counsel for Defendants Camshaft Capital
                                                     Fund, LP, Camshaft Capital Advisors, LLC
                                                     and Camshaft Capital Management, LLC




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 6th day of November, 2023, a true and correct copy

of the foregoing was served to all counsel of record via email:

LEON COSGROVE JIMENEZ, LLP:
azaron@leoncosgrove.com
dperez@leoncosgrove.com
mjimenez@leoncosgrove.com
lmathews@leoncosgrove.com

KIRKLAND & ELLIS LLP
Ravi.Shankar@kirkland.com
Christine.Shang@kirkland.com
Katie.welch@kirkland.com
Colin.rathe@kirkland.com



                                                             By:      /s/ David B. Massey
                                                                      David B. Massey



                                                 4
Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 63 of 69




     EXHIBIT 10
              Case 24-50013-BLS        Doc 5-1     Filed 02/02/24     Page 64 of 69

                                       BYJU’s Alpha, Inc.
                                     2045 N. Fremont Street
                                     Chicago, Illinois 60614


                                       November 20, 2023


Via Courier Mail

Camshaft Capital Fund, LP
c/o The Corporation Trust Company
1209 Orange Street
Wilmington, DE 19801
Attention: William Morton

Re: Information Demand in Connection with BYJU’s Alpha, Inc.’s Transfer of
    $533 Million to Camshaft Capital Fund, LP and Investment

Mr. Morton:

       As you may be aware, I, Timothy R. Pohl, am the sole director, Chief Executive Officer,
and Secretary of BYJU’s Alpha, Inc. (the “Company”). Further, on November 2, 2023, the
Delaware Court of Chancery in the attached bench ruling held that “Pohl is, indeed, BYJU’s
Alpha’s sole director and officer” since March 3, 2023.

        As you are aware, the Company made five transfers in April and July 2022, totaling $533
million (collectively, the “Transfers”), to Camshaft Capital Fund, LP (together with Camshaft
Capital Advisors, LLC, Camshaft Capital Management, LLC, and their respective affiliates and
direct and indirect managed funds, “Camshaft”). Because former management of the Company
caused the Transfers to occur and caused the Company to enter into any agreement, arrangement,
instrument, and document with Camshaft (collectively, the “Documents”) and failed to provide
to me information regarding the Transfers and Documents, I lack this information, despite being
the sole director and officer of the Company.

       Further, it is my understanding that the Company’s funds from the Transfers were
invested in Camshaft (the “Investment”), and as a result, the Company is a limited partner in one
or more Camshaft funds (the “LP”). In order to better understand the Investment and the
Company’s rights and risks with respect thereto, as the sole representative of the Company, I
demand, under my contractual and legal rights, including Section 17-305 of the Delaware limited
partnership act, that Camshaft provide to me within five business days after the date of this letter
any and all information in the possession or control of Camshaft regarding the Investment, the
Transfers, and Documents, including, without limitation, the following:

       1.      True and full information regarding the status of the business and financial
condition of the LP.

       2.      A copy of the LP’s federal, state and local income tax returns for each year.

       3.      A current list of the name and last known business, residence or mailing address
of each partner in the LP.
             Case 24-50013-BLS         Doc 5-1       Filed 02/02/24   Page 65 of 69




        4.     A copy of any written partnership agreement and certificate of limited partnership
with respect to the LP and all amendments thereto, together with executed copies of any written
powers of attorney pursuant to which the partnership agreement and any certificate and all
amendments thereto have been executed.

       5.      True and full information regarding the amount of cash and a description and
statement of the agreed value of any other property or services contributed by each partner in the
LP and which each partner in the LP has agreed to contribute in the future, and the date on which
each became a partner.

         6.      All Documents, including, without limitation, subscription agreements, side
letters, due diligence confirmations, term sheets, presentations, letters, legal documents, and
offering materials with respect to the LP.

       7.      All information regarding the Transfers, including the uses of each Transfer.

        8.      All account records-including but not limited to (a) capital account statements,
(b) custodial statements, (c) financial statements, and (d) statements of management fees,
transaction fees, placement fees, expenses, and other compensation charged (including
performance-based compensation) associated with the Company or any Transfer.

       9.      All records of confirmations, transfers, assignments, re-titlings, subscriptions,
contributions, withdrawals, redemptions and other transactions associated the Company or any
Transfer.

        10.    All Information regarding whether there has been any change in ownership of the
Company’s Investment, and, if there has been any change, all information regarding the identity
of any transferee of any portion or all of the Investment.

       11.     All communications at any time between Camshaft or its representatives, on the
one hand, and the Company or any of its former representatives, on the other hand.

       12.     All documents and communications at any time concerning the relationship
between Camshaft or William C. Morton, on the one hand, and the Company or its former
representatives, including Byju Raveendran, Divya Gokulnath, and Riju Raveendran, on the
other hand.

       13.     All state, federal, regulatory, and international filings Camshaft has made since its
formation.

        14.      Documents sufficient to show Camshaft’s organizational, ownership, and control
structure at all times since Camshaft’s formation.

        15.     All documents and communications concerning any direct or indirect
(i) investments (whether made through a security, derivative, equity, or debt instrument, a capital
contribution, or otherwise) or (ii) dispositions or transfers (whether of cash, cash equivalents,
securities, assets, or any other item of value) made by Camshaft or any of its representatives or



                                                 2
             Case 24-50013-BLS           Doc 5-1               Filed 02/02/24   Page 66 of 69




affiliates to any of the Company or its representative or its affiliates, including, without
limitation, Think & Learn Private Limited.

       All of the requested information should be provided to me and the Company’s legal
counsel, via email or overnight courier, to the following addresses:

       Timothy R. Pohl
       BYJU’s Alpha, Inc.
       2045 N. Fremont Street
       Chicago, Illinois 60614
       Email: timrpohl@gmail.com

       With a copy to:

       Quinn Emanuel Urquhart & Sullivan, LLP
       51 Madison Avenue, 22nd Floor
       New York, NY 10010
       Attn: Susheel Kirpalani and Daniel Holzman
       Email: susheelkirpalani@quinnemanuel.com; danielholzman@quinnemanuel.com

        Finally, I, as the sole director and officer of the Company, am the only party who is
entitled to have access to and control over and provide any direction or instruction with respect
to any Investment of the Company and any funds you received from the Company in the
Transfers.

        In the event that Camshaft does not respond or provide the requested information within
five business days from the date this letter, I will seek appropriate relief to the fullest extent
permitted under law.

       Thank you for your prompt attention to this extremely urgent matter.

                                       Sincerely,

                                      Tim Pohl (Nov 20, 2023 14:37 CST)

                                       Timothy R. Pohl


Cc: David Massey at david.massey@hoganlovells.com
    Marty Steinberg at marty.steinberg@hoganlovells.com
    Susheel Kirpalani at susheelkirpalani@quinnemanuel.com
    Daniel Holzman at danielholzman@quinnemanuel.com




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Case 24-50013-BLS   Doc 5-1   Filed 02/02/24   Page 67 of 69




     EXHIBIT 11
                        Case 24-50013-BLS                             Doc 5-1              Filed 02/02/24                    Page 68 of 69


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December 4, 2023


By Electronic Mail

Susheel Kirpalani and Daniel Holzman
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51 Madison Avenue, 22nd Floor
New York, NY 10010
susheelkirpalani@quinnemanuel.com; danielholzman@quinnemanuel.com

Mr. Timothy R. Pohl
BYJU’s Alpha, Inc.
2045 N. Fremont Street
Chicago, Illinois 60614
timrpohl@gmail.com

Re:              Response to Letter from Timothy Pohl to Camshaft Capital Fund, LP Demanding
                 Information

Dear Messrs. Pohl, Kirpalani and Holzman:

This letter is in response to the letter from Timothy Pohl to Camshaft Capital Fund, LP, dated
November 20, 2023 (the “Letter”), wherein BYJU’s Alpha, Inc. (“BYJU’s Alpha”) demands information
as a purported limited partner “in one or more of the Camshaft funds.” BJYU’s Alpha is a former limited
partner of Camshaft Capital Fund, LP, and was never a limited partner of any other Camshaft entity.

Your letter demands information on behalf of BYJU’s Alpha pursuant to Section 17-305 of the
“Delaware limited partnership act.” Section 17-305 of the Delaware Revised Uniform Limited
Partnership Act “affords no . . . right to former limited partners to inspect a partnership’s books and
records.” Greenhouse v. Polychain Fund I LP, No. 2018-0214-JRS, 2019 WL 2290245, at *5 (Del.
Ch. May 29, 2019) (holding that plaintiff had no standing to seek books and records under 6 Del. C. §
17-305 because plaintiff was no longer a limited partner).

As such, BYJU’s Alpha’s demand for books and records is rejected because BYJU’s Alpha has no
statutory right or standing to demand books and records from Camshaft Capital Fund, LP (or any other
Camshaft entity identified in your Letter). Nor does BYJU’s Alpha have any rights under the Limited
Partnership Agreement between BYJU’s Alpha and Camshaft Capital Fund, LP, as a former limited
partner with a zero-balance capital account.

Camshaft Capital Fund, LP (and all other Camshaft entities identified in your Letter) expressly reserve
and do not waive all other defenses to your demand under the Delaware Revised Uniform Limited
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and Hogan Lovells International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf
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             Case 24-50013-BLS        Doc 5-1     Filed 02/02/24     Page 69 of 69
                                              -2-                             December 4, 2023




Partnership Act, contract law, or any other basis, including but not limited to that the requested
documents are confidential, trade secret, and proprietary to Camshaft Capital Fund, LP under the
express terms of the aforementioned Limited Partnership Agreement, and disclosure, even if
statutorily or contractually permitted (which it is not), would harm the partnership.



Sincerely,




David Massey

Partner
david.massey@hoganlovells.com
D 1 (305) 459-6678

cc:    Quinn Emanuel Urquhart & Sullivan, LLP
       51 Madison Avenue, 22nd Floor
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       Attn: Susheel Kirpalani and Daniel Holzman
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